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                          U.S. v. Mississippi
                  Fourth Report of the Court Monitor
                          September 7, 2023
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Introduction and Executive Summary.
This is the fourth Report of the Court Monitor in this matter concerning Mississippi’s adult
mental health system, and its compliance with the “integration mandate” of the Americans with
Disabilities Act (ADA). The focus is whether Mississippi’s mental health system for adults with
serious mental illness (SMI) including community mental health programs operated by
Community Mental Health Centers (CMHCs) and inpatient care provided by State Hospitals
(Hospitals)--operates to unnecessarily institutionalize individuals with SMI in Hospitals—by not
providing adequate community care.
The matter has been active for over a decade, and discussed in previous Reports which are
posted at: https://www.dmh.ms.gov/news/olmstead/ U.S. District Court Judge Carlton Reeves
issued an Opinion and Order in September 2019 finding that the Mississippi system for adults
with serious mental illness was in violation of the ADA. On September 7, 2021, following
negotiations toward a plan, Judge Reeves issued a Remedial Order (henceforth Order) and
appointed Dr. Michael Hogan to serve as Court Monitor. An Order of Appointment provides that
the Monitor shall assess compliance with each obligation in the Order in a written report to the
Court every six months and shall provide the State with technical assistance. The Appointment
Order also provides that, in assessing compliance, the Monitor shall review and validate data and
information, speak with State officials, providers, and individuals receiving services. This is the
Monitor’s fourth Report, covering the period from March 2023 to August 2023.
Legal proceedings in the case have continued. On January 10, 2022, the State filed an Appeal of
Judge Reeves’ Remedial and Monitoring orders with the Fifth Circuit Court of Appeals, seeking
reversal of both. The Circuit Court held a hearing on the Appeal on October 5. As this Report is
written, an Opinion has not yet been issued. During the legal process, the Order remains in
effect: the State is implementing its requirements and the Monitor is reviewing progress.




Organization of this Report.
The Report is organized into sections as follows:
       Developments in the mental health system
       Activities of the Monitor during this reporting period
       Observations on Compliance
       Compliance Findings
       Conclusion and next steps
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Developments in the mental health system
This section provides context for understanding how implementation of the Order is proceeding.
We provide this background for the benefit of interested parties. In the two years since the
Court’s Order much has been accomplished and there have been changes in mental health in
Mississippi and nationally. We therefore take this opportunity to describe progress and
challenges for the benefit of stakeholders.
All the services required by the Order were funded by the end of FY ’22 and remain funded. All
the required services have now been launched by CMHCs although some do not function at their
funded capacity, mostly because of staffing challenges.
In addition to funding the Core Services required by the Order (Mobile Crisis Teams, Crisis
Stabilization Units, Programs of Assertive Community Treatment, Intensive Community
Outreach and Recovery Teams, Intensive Community Support Specialists, Permanent Supported
Housing, Supported Employment, Peer Support, and Community Support Services), the
Department of Mental Health (DMH) has received additional funds through State appropriations
as well as the Legislature’s allocation of federal pandemic-related funds from ARPA—the
American Rescue Plan Act. These funds will increase services in areas related to but not required
by the Order, or in other cases increase required services (e.g., Crisis Stabilization Units—CSUs)
beyond the minimum levels required by the Order. A State plan for use of the ARPA funding is
leading to FY ’24 contract awards.

The DMH has also received increased federal funding from the Substance Abuse and Mental
Health Services Administration (SAMHSA). Significant resources were targeted to
implementing the national 988 crisis and suicide prevention program that launched in 2022. In
Mississippi, most of these funds have been dedicated to two CONTACT centers that answer 988
calls, texts and chats and connect callers to local crisis services if required. Finally, SAMHSA
funding has been received for both discretionary/competitive grants and for the Community
Mental Health Block Grant, which supports community services for adults with SMI and
children/youth with serious emotional disturbances.
Renewed federal support for mental health. The federal government’s support for mental health
services has long been uneven and limited. This stance dates to President Franklin Pierce’s veto
of land grant legislation to build asylums in the mid-19th century. When President Kennedy’s
Community Mental Health Center (CMHC) legislation was enacted in 1963, Kennedy’s broad
message about the need for CMHCs ran into this historical reluctance to fund mental health care;
the significance of the need and the urgency of Kennedy’s message were not matched by the
funding provided. Over the next two decades, only about 750 CMHC’s received support (over
2000 were needed across the country), and funding was limited to “start-up” grants provided for
seven years. Then, in 1981, President Reagan’s first budget eliminated the CMHC program by
converting it into a block grant, removing references to CMHC services from federal legislation
and reducing overall funding by 35%. For the last 40 years, dedicated federal support for
Mississippi mental health was limited to this modest block grant and discretionary/competitive
grants. The mantle of leadership in mental health passed to the states, with funding provided by
state legislatures and via Medicaid. In Mississippi, 1972 legislation followed the Kennedy
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approach, allowing counties to create Regional Commissions to govern CMHC services, without
providing much funding or programmatic direction.
Certified Community Behavioral Health Clinics. The past three federal Administrations have
increased federal support for mental health. The national 988 system was created during the
Trump Administration and funding for 988 was significantly expanded during the Biden
Administration. In addition to the Affordable Care Act, which included provisions to improve
mental health care—mostly in health insurance programs--the other recent federal mental health
initiative is creation and expansion of the Certified Community Behavioral Health Clinic
(CCBHC) program.
The effort was launched by Congress in 2014 as part of the Protecting Access to Medicare Act.
In 2022, as part of the Bipartisan Safer Communities Act (enacted in response to gun violence)
Congress expanded the program to provide planning grants until all states have had the
opportunity to create CCBHCs. In 2023, Mississippi was awarded a state planning grant.
(Several CMHCs in Mississippi have also received local, 2-year CCBHC grants.) There are now
over 500 CCBHCs nationally.
The CCBHC program has two main features. The first is programmatic. CCBHCs are
modernized CMHCs, updating the Kennedy CMHC model. The national requirements now
require timely access to care and include improved primary care and crisis response. The second
main CCBHC feature has to do with funding. States can improve their utilization of Medicaid
reimbursement to fund a more sustainable approach to mental health care via CCBHCs.
Medicaid has become the major funder of community mental health services nationally and in
Mississippi, with total spending exceeding both state general funds and federal funds for mental
health. However, in most states—as in Mississippi—Medicaid’s benefit reimburses specific
services for eligible individuals but does not provide a consistent and reliable infrastructure for
mental health care, especially for low-income individuals sometimes described as “working
poor” who do not have insurance and are not Medicaid eligible under current Mississippi rules.
Meanwhile, DMH funding supports Core Services for all who need them but does not cover the
basic services that most people without insurance coverage rely on (e.g., counselling,
medications). DMH also requires CMHC’s to provide care regardless of ability to pay but only
pays for this care in Core Services. The gap between the two programs leads to gaps in care and
to the CMHCs providing care that is not reimbursed—a gap estimated at $30M annually by the
Mississippi Association of Community Mental Health Centers.
The statewide CCBHC grant provides Mississippi with an opportunity to address these problems
by designing an affordable, sustainable CCBHC effort during 2023-24. This would require
agreement by both DMH and the Division of Medicaid (DOM)—and ultimately the
Legislature—with substantial input and involvement of stakeholders. Importantly, the CCBHC
program must serve children, youth, and families as well as adults, including those with SMI.
Establishing a statewide CCBHC system may also provide an opportunity to strengthen the role
of CMHCs to manage the system of care, making them more accountable—as well as
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responsible—for managing Hospital utilization and for eliminating the unfortunate practice of
holding individuals not charged with a crime in jail until treatment is available.
The Monitor observes that current inconsistencies in funding and insufficient coordination of
benefits between DMH and DOM makes operation of successful CMHC’s and achieving
adequate mental health care statewide challenging. The CCBHC effort could provide a way to
better integrate funding and care, and to leverage current state funds as Medicaid match to
achieve improved, efficient care. This is a needed but challenging effort that demands much from
both DMH and DOM. A modest approach to repackage currently low Medicaid rates into a
slightly different payment approach will not achieve an adequate, sustainable model.
Coordinator of Mental Health Accessibility and Regional Mergers. In early 2023 the Office of
the Coordinator of Mental Health Accessibility released their sixth quarterly report (see
www.dfa.ms.gov/sites/default/files/Legislative%20Info%20Home/Office%20of%20the%20Coor
dinator%20of%20Mental%20Health%20Accessibility%20-
%20Quarterly%20Report/4th%20Quarter%20Report.Final.pdf.)
This office was created by the Mississippi Legislature in 2020 as the Order in this case was
released, and in response to ongoing fiscal/management challenges in several CMHC’s. The
failure of regional CMHCs is a long-standing problem; over time Regions 5, 1, 13 and now 11
have been absorbed by other Regions following financial difficulties. The consolidation strategy
accomplished mergers of faltering Regions but has not, to the Monitor’s knowledge, identified
changes that might be necessary to achieve sustainability in CMHC operations.
Since its creation in 2020, the Accessibility Coordinator has been largely focused on Regions
with financial problems. In 2022, because of these efforts, Region 1 was absorbed by Region 6
(which had previously absorbed the former Region 5 counties in 2013). These consolidations
mean that 16 of Mississippi’s poorest counties in the Delta are now combined in a single Region,
stretching almost 160 miles along the Mississippi River. The limited resources and infrastructure
in the area, the difficulty of attracting staff and the threat of rural hospital closures make the
operating environment difficult. The mergers have expanded the scale of the operation and
capitalized on the management capabilities of Region 6 leadership without addressing systemic
financial sustainability issues.
Following the Accessibility Coordinator’s robust multi-year effort to bolster care in Region 11,
this Region was dissolved effective July 1, 2023. Five of Region 11’s counties (Amite, Franklin,
Lawrence, Pike, Walthall) were absorbed by Region 12—the largest Region in the state, which
had absorbed the former Region 13 in 2021—and the other four counties (Adams, Claiborne,
Jefferson, and Wilkinson) were absorbed by Region 15—the smallest Region.
The regional consolidations mean that the failure of services in the absorbed Regions was
avoided. This is a significant accomplishment. The consolidations were also stressful; despite the
intense efforts of staff to provide continuity of care, there is little doubt that some people are lost
in the shuffle and that services are significantly disrupted. For example, the CSU in Natchez was
temporarily closed because of staffing and transition issues and the CSU in Marks was closed
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and will potentially be reopened at a different location. A number of staff have left for private
sector opportunities.
Going forward, the new mergers (completing the assimilation of Region 1 into Region 6, and the
absorption of Region 11 services into Regions 12 and 15) will take time and support to work.
There are potential problems to identify and avoid. As noted earlier, Region 12 is already much
larger than any other Regions, with a combined population of over 600,000 in 13 counties. The
Accessibility Coordinator has pointed out that very small Regions may not have an adequate
population base to sustain services. However, it is also true that Regions incorporating multiple
counties must work with more county and local officials including courts, sheriffs, and jails, as
well as more school districts, hospitals, and other facilities—increasing management demands.
There are upper limits as well as lower limits to efficiency.
With the absorption of former Region 11 counties, Region 12 will be more than twice the
population size of the next largest Region (8) in Mississippi, with a combined population of
about 750,000 and including 17 counties. The driving distance from one end of the Region to the
other is about 175 miles. The management tasks associated with absorbing Region 11, where
staff have been working with inadequate benefits and multiple record systems, will be
substantial, and Region 12 is still recovering from challenges associated with absorbing Region
13 several years ago. Because the newly accountable CMHCs are different organizations with
different record systems, existing clients must be manually enrolled in the new system; no
protocol exists to seamlessly continue their enrollment. The legislation establishing the
Accessibility Coordinator provided an effective process for transitioning Regional governance,
but to date has not yielded a road map for operating success.
The challenges that will be faced in the absorption of Region 11 counties into Region 15 will be
different but are also substantial. Region 15 is small and geographically coherent. There is an
experienced management team which has run this small two-county system for many years.
Absorbing services that have not functioned very well into a small neighboring Region will be
challenging. Post consolidation, the combined Region will be much larger and thus potentially
have a more adequate resource base. But the challenges of working with many additional
jurisdictions are substantial. The fact that the transition takes place just as Merit Health is
relocating its 50-bed inpatient psychiatric service from Vicksburg to Jackson adds to the degree
of difficulty.
Recently the Accessibility Coordinator released a report summarizing actions that were taken to
try and make Region 11 viable as well as steps taken to dissolve the Region, once a
determination was made that this was necessary. See:
https://www.dfa.ms.gov/sites/default/files/Legislative%20Info%20Home/Office%20of%20the%
20Coordinator%20of%20Mental%20Health%20Accessibility%20-
%20Quarterly%20Report/1st.2nd%20Qtr%202023%20Status%20Report.pdf
Both efforts are documented well and the outcomes are summarized as necessary and sufficient.
However there has not yet been sufficient attention to the sustainability of the reorganized
system. The Monitor recommends that the State evaluate the factors and resources that will be
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needed for CMHCs to achieve success. The statute establishing the Office of the Accessibility
Coordinator (Miss Code 41-20-5) defines this task is as one responsibility of the Office: “(g) To
determine whether each community mental health center has sufficient funds to provide the
required services.”
 It may be that the strategy of consolidation has gone as far as is useful. The Regional
consolidations addressed material management problems and resource limits associated with
small regional size—in an environment of limited State and local funding. Given the costs,
challenges and stresses associated with mergers, further use of the strategy may not address
possible systematic challenges that have caused 4 of 15 CMHCs to fail.
Data collection and analysis. During FY ‘22 and FY ‘23 DMH spent considerable time and
energy working with the CMHCs on data collection. Previously, data on local service delivery
was variable, unreliable, and insufficient for accountability. DMH is now regularly reporting
data to the Monitor on individuals served in Core Services and in Hospitals, posting this data
annually on its website and taking management steps suggested by the data.
During FY ‘23 the State has continued to monitor the fidelity of Core Services and took efforts
to improve this monitoring by consulting with national experts in Program of Assertive
Community Treatment (PACT) and Individual Placement and Support—Supported Employment
(IPS) to improve fidelity monitoring. This improved the quality of the reviews and facilitates
compliance by improving the State’s ability to make sure programs are working as intended.
During this reporting period the Monitor participated in a number of fidelity reviews and found
that the State’s approach was solid. We discuss this in our review regarding Paragraphs 3-11.
During FY ’23 DMH implemented a medical record audit process to evaluate Hospital discharge
planning. This effort has yielded some improvements that we cover in our discussion of
Paragraphs 15-17 below.
State Hospital capacity. Late in 2022, DMH re-opened a 30-bed unit at East Mississippi State
Hospital (EMSH) that had been closed for some time because it could not be staffed; a closed 20
bed unit at Mississippi State Hospital (MSH) was reopened in January. The closure of these units
affected access to care and contributed to the longstanding problem of people who had not been
charged with a crime being held in local jails waiting for a hospital bed, which we discussed in
our March 2023 Report. Most of the Hospital capacity reduced during the pandemic has now
been re-opened. The addition of 50 Hospital beds has reduced the time that people who have
been committed wait in jail for a Hospital bed but has not resolved the problem completely. In
addition, because priority is given to people held in jails pending state hospital admission it may
create an incentive to place people in jail to secure Hospital admission.
Another unit that had been closed at MSH will not be re-opened because DMH judges it not
necessary; funds were reallocated to community care. The restorations of inpatient capacity have
improved access to Hospital care. Going forward, improving access while also reducing
unnecessary institutionalization will require more attention and will remain a challenge.
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CMHC services continue to be affected by staffing challenges. In a previous Report, we
discussed this problem. CMHCs are working hard to recruit and retain staff. Across the system,
staff vacancy rates by type of position are closely related to compensation, with the highest
vacancy rates for lower paid Peer Support Specialists, moderate vacancy rates for therapists and
the lowest vacancy rates for higher paid prescribers. Vacancy rates for therapists are reportedly
related to the extent to which there is a regional private market for therapists, who often train in
CMHCs and then often leave for private practice opportunities, where pay may be greater and
additional responsibilities such as on-call service are reduced.
Health care market failures. Recent events serve as a reminder that people with SMI rely not
only on the CMHCs and Hospitals but on care provided in other settings including private
hospitals—both free-standing psychiatric facilities and mental health units in general/community
hospitals. In several parts of Mississippi, private sector acute care for individuals in psychiatric
crisis—often paid for by Medicaid—is a major element of the system of care. (Medicaid pays for
psychiatric care in general hospital units but generally does not pay for care in free standing
psychiatric hospitals.) Data from DOM indicates that in the third quarter of FY ’23 (January-
March 2023) there were 2,557 Medicaid paid admissions to inpatient psychiatric care which was
more admissions than to CSU’s and State Hospitals combined. There is great variability in
regional use of Medicaid paid inpatient care on a per capita basis, driven in part by the
proportion of the population that is Medicaid eligible and even more by proximity to hospitals
with psychiatric units. Per capita Medicaid paid admission rates for this period varied from
19/10k population (Region 4) to 285/10k population (Region 9), a 15-fold variation.
In June, St. Dominic Health Services in Jackson announced the abrupt closure of its psychiatric
inpatient services with the reduction of over 150 staff positions and over 75 licensed beds.
According to DOM data, St. Dominic’s inpatient program handled 472 Medicaid paid
admissions during the third quarter of FY ’23, about 18% of all admissions statewide. The full
impact of the closure is still unfolding with concerns voiced by the Hinds County Sheriff and
Jackson’s Police Chief. Both officials expressed concern about increased criminalization of
mental illness, with SMI individuals detained in jail rather than engaged in treatment. The
creation of additional Crisis Stabilization Units (CSUs) in Hinds County and in Region 8—both
initially supported with federal pandemic related ARPA funds—may help reduce the impact. We
note that, even without Medicaid paid admissions to St. Dominic, Region 9 would still have the
highest Medicaid inpatient admission rates in the State, so there may be an opportunity to
rebalance the system toward community care.
Legislative action. Continued challenges in communities at the interface of law enforcement and
mental health also led the Legislature to conduct a hearing on the issue in its most recent session.
Then the Legislature enacted the Mississippi Collaborative Response to Mental Health Act (HB
1222), which was signed by Governor Reeves and became effective July 1, 2023. The Act
requires improved mental health training for law enforcement and expansion of the Crisis
Intervention Team model of specially trained officers working in collaboration with mental
health programs. It also signaled an intent to expand Court Liaisons (new positions established to
bridge CMHCs with courts and law enforcement) to additional counties (eventually the FY ’24
DMH budget included funding for an additional 8 positions related to HB 1222). We discuss the
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Court Liaison initiative in more detail in our review of developments related to Paragraph 13.
The legislation also updated the terms of members of the State Board of Mental Health, imposed
record keeping/reporting requirements for Chancery Courts and added accounting/audit
requirements for Regional Commissions.
The Legislature’s interest and increased engagement in mental health is welcome and essential to
resolving long-standing challenges in Mississippi’s mental health system.
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Activities of the Monitor during this reporting period.
The Court Monitoring Team emphasized completing the review of DMH’s fidelity assessments
of Core Services (leading to an informal report on fidelity reviews that is incorporated in this
Report); and conducting a data review of Intensive Services use (leading to a finding that
Intensive Services in some CMHC’s are not sufficiently intensive, discussed in another informal
paper that was shared with the parties and has also been incorporated in this Report). We
consulted with staff at DMH on fidelity assessments and discharge planning, worked with DMH
on its review of discharge planning and evaluated these reviews; and assisted with a DMH effort
to consider an audit process for CMHC commitment activities. We did not conduct tracer
reviews of care in Hospitals and CMHC’s to evaluate care coordination during this period,
although some care coordination problems were uncovered via data review.
During this period, the Monitor made visits to Mississippi on March 8-10, March 27—April 1,
May 14-20 and July 16-22. During the May and July visits the Monitor met with the Coordinator
of Mental Health Accessibility. The team conducted a listening session with advocates at the
Mississippi National Alliance on Mental Illness (NAMI) conference in May.
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Observations and Findings Related to Compliance
The Monitor assesses compliance for each Requirement of the Order using a simple framework:
   1. Has action been taken to address the Requirement (e.g., a program put in place, or a
      procedure implemented)?
   2. Is that action working as intended (e.g., is the program serving people according to the
      State’s standards)?
   3. If relevant, is the action contributing to the goal of reducing unnecessary
      institutionalization in Hospitals?
In this section we discuss data and observations related to compliance; in the subsequent section
we present Compliance Findings. We organize observations according to Paragraphs of the
Order.
Paragraph 1 summarizes the over-arching requirements of the Order, noting that “the State of
Mississippi must develop and implement effective measures to prevent unnecessary
institutionalization in State Hospitals.”
As noted in our previous reports, the number of admissions to Hospitals statewide declined in
recent years as new services were developed and beds closed because of the pandemic. There
have not been dramatic changes in hospitalization patterns since our September 2022 Report,
although Hospital admissions have increased recently because of the re-opened units at MSH and
EMSH. As we have emphasized previously, there is no expert consensus on what numerical level
of admissions are appropriate; people who cannot be safely stabilized in community settings and
require a Hospital level of care should get it in a timely fashion, although community care if
available is less intrusive and costly. Thus, levels of needed Hospital care depend on the
adequacy of community alternatives.
As we discussed in previous Reports, people who have not been charged with a crime but have
been committed to a Hospital wait for care in jails. There is no justification for holding people in
jails awaiting hospitalization, especially when they have not been charged with any crime, are in
a stressful institutional environment, and are not getting treatment—meaning their condition can
deteriorate further. In FY ’22, an average of 25 individuals on any given day were waiting on
average for over a week. By the end of FY ’23, the number of people waiting on any given day
was reduced to 2 or 3, with time spent in jail significantly reduced, to about 2.5 days on average.
Recent Mississippi Today/ProPublica coverage has put a spotlight on this issue.
The reduction in the length of time that people were held in jail is primarily because DMH has
reopened 50 inpatient beds, while prioritizing admissions of people held in jails. The increase in
Hospital capacity coupled with the priority on jail admissions has reduced the wait time for
people held in jail while perhaps creating an incentive to hold people in jail to secure Hospital
access. While treatment in Hospitals is preferable to custody in jail, it is a costly and restrictive
solution. It also does not appear that crisis services are significantly affecting this problem;
generally, the people held in jails have been committed specifically to a Hospital and it is not
clear that alternatives to Hospitals are considered in these commitments.
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There are many transfers to State Hospitals from other hospitals. The beds occupied by people
who have been transferred act to “block” other admissions, contributing to the jail hold problem.
DMH reports that for the first half of calendar 2023, 51% of all admissions to Mississippi State
Hospital (MSH) were individuals transferred from other hospitals—where they were already
receiving care. This means that about half of MSH’s beds are occupied by people who were
already getting hospital level care elsewhere, blocking access to these beds for other people
needing treatment but not getting it.
It may be that people are transferred in the belief they “need more time” in a hospital, and the
transferring hospital is unwilling to provide this care. There is a perception in some quarters that
longer hospital stays may help some people achieve stability, but there are no controlled research
studies demonstrating better outcomes from long inpatient stays. The pattern of shorter hospital
stays has changed across health care, not just in mental health. Today, hospital stays after birth or
major surgery are often just a day or two. Across all illnesses, the hospital is where complex
procedures requiring specialized teams and a controlled environment are completed. Recovery
and rehabilitation are conducted on an outpatient basis.
This is also true in mental health—when people are connected to community care on discharge.
Most acute psychiatric hospital stays today in the United States last a week or less, even though
the time from initiating medication treatment with antidepressant or antipsychotic medications to
a favorable initial response (not full symptom relief) takes longer—generally several weeks.
Treatment starts in the hospital, but as with other conditions rehabilitation and recovery take
place after discharge. This makes good care after discharge essential. But it means there is a very
limited justification for transfers following treatment in private hospital psychiatric units to
Hospitals in terms of benefit to individuals.
The Hospitals provide the same level of care that general hospital psychiatric units or private
psychiatric hospitals are licensed to provide. The State’s facilities are not like regional Neonatal
Intensive Care Units, cancer centers or trauma care facilities that provide more intense or
specialized care. Perhaps some transfers occur because insurance payments for hospital care
cover only a few days, and the transfer is simply a shift of financial liability. Apparently
inpatient lengths of stay for members of Medicaid managed care plans are shorter than Medicaid
fee-for-service visits, although we have not verified this pattern. If it is true, it means these plans
paid for by the State are shifting liability back to the State, albeit to a different agency.
Same level of care transfers lead to increased State expense, since care of eligible individuals in
general hospital psychiatric units is covered by Medicaid, meaning that the federal government
picks up over 80% of that cost—while Hospital care is not covered by Medicaid and is 100% a
State cost. Staff report that some transfers occur because treating physicians in private hospitals
are worried about the difficulty of arranging aftercare, or the potential liability of a “bad
discharge.” A transfer to a Hospital under these circumstances is essentially a transfer of liability
to the Hospital at cost to the State and inconvenience for the patient and their family.
These rationales are hard to justify given that individuals in private hospitals are already
receiving care, and the transfers “block” Hospital beds needed by people who are waiting for
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admission in locations (jail or home) where they are not receiving treatment. The State should
examine this pattern and address it, to improve both access and the appropriateness and
efficiency of care. However, the problem cannot be resolved by DMH alone, and DOM and the
Mississippi State Department of Health may need to play a role.
Paragraph 2 addresses responsibilities of the CMHCs that provide most of the services required
by the Order, noting that “each CMHC shall be the entity in its region responsible for preventing
unnecessary hospitalizations.” CMHCs are not simply clinics providing elective counseling and
medication treatment, but comprehensive providers established under State law to serve a Region
with a wide range of services. They are locally governed by regional commissions appointed by
county boards of supervisors. CMHC programs must be certified by DMH and most funding is
provided through the State’s Medicaid and DMH programs. Paragraph 2 provides that CMHCs
are responsible for avoiding unnecessary hospitalizations by:
    a. Identifying individuals with serious mental illness in need of mental health
       services;
    b. screening individuals with serious mental illness during annual planning meetings
       to determine their need for the services required by this Plan;
   c. coordinating mental health care for individuals with serious mental illness; and
   d. diverting individuals from unnecessary hospitalizations through the provision of
       appropriate mental health care.”

The responsibility of the CMHCs to orchestrate care and to manage the use of hospitalization is
not sufficiently understood. This responsibility goes beyond the operation of programs that are
alternatives to hospitalization and requires care coordination for people in the Region. Within
this approach, the functions described in Paragraph 2 are crucially important to people receiving
care, to families and the public. Coordination of care is most important for individuals with more
complex needs, such as SMI. Their recovery often depends not just on medications or
counseling, but on rehabilitation, home visits, and support that is provided where people live or
work.
Experience and data suggest that most problems that people with SMI experience resulting in
hospitalization are because of gaps in care and treatment, not because people are in care and
there are problems with it. Trying to access needed care when someone is not getting it is also a
frequent “pain point” for individuals and families.
In our March 2022 report, we discussed issues related to these CMHC responsibilities to
organize and coordinate care, based on visits to all the Regions and some record reviews. We
found CMHCs are not sufficiently accountable for their care coordination responsibilities, and
that practices related to the requirements of Paragraph 2 vary widely.
In subsequent Reports we discussed this problem in more detail based on record reviews at all
the CMHCs. We found problems, most notably including failure to meet with clients in the State
Hospital prior to their discharge, conduct assertive engagement, and enroll the person in
appropriate services as required under Paragraph 17 of the Order. We also found substantial
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variability in CMHC efforts to engage (or reengage) people when initial or continuing care visits
were not completed.
During this monitoring period, we did not conduct CMHC care coordination record reviews. It is
an intensive effort and we concluded that allowing a bit more time for improvements prior to
additional record reviews would be appropriate. We have discussed these issues with DMH and
are encouraged that DMH is considering additional approaches to monitor CMHC performance.
We encourage these efforts and suggest that approaches to improve care coordination should
include data review and record reviews.

We have found that reviewing data on patterns of care can uncover both good practices and those
needing improvement. For example, in our March 2023 Report, we indicated that in 46 counties
where people had been committed to Hospitals, no residents had received Supported
Employment services, which can reduce hospitalization. In 20 counties with Hospital
commitments, fewer than 3 individuals had received the Intensive Services (PACT, ICORT,
ICSS) that are specifically designed to reduce hospitalizations. Per the Order, Intensive Services
are funded in a fashion that is designed to ensure that at least one of these services is available in
each County, so that access to intensive, mobile services are available statewide. Generally,
PACT teams serve larger population counties, or several counties that are geographically
compact. ICORT teams serve mid-sized counties or population centers; ICSS staff are deployed
in smaller areas or sometimes are deployed to complement the team services. Thus, Intensive
Services should be considered for all individuals at risk of rehospitalization.

During the current monitoring period we conducted additional data review on Intensive Services,
examining “unit of service” data that DMH is now collecting. We examined data on the levels of
enrollment in, and quantities of services provided by Intensive Services (PACT, ICORT, ICSS)
for the second Quarter of FY ’23 (September—December 2022). The data showed considerable
variability across Regions in the use of these services. Ideally, enrollment in these services would
approach the funded capacity of the program, so that the valuable care they provide is used
efficiently.

We found that enrollment (the number of people who received any services from the program) in
PACT and ICORT services was below 50% of funded capacity in multiple Regions (for PACT,
Regions 4 and 10, for ICORT Regions 1, 2, 8, and 11 and for ICSS Regions 4, 8 and 9). We do
not know whether the low enrollment is due to staffing problems or a failure to enroll people in
the program, e.g., when they leave the State Hospital or a CSU. Levels of hospitalizations, and
patterns of discharge referrals generally suggest that there are more individuals who could
benefit from the services than are receiving them.

We are not aware if Mississippi has established minimum standard for enrollment, but we
consider less than 50% enrollment to be clearly insufficient. The average enrollment (counting
anyone who received a service during the quarter as “enrolled”) finds that statewide PACT
enrollment in all other Regions was about 80% of funded capacity, which we believe is
reasonably efficient.
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Low enrollment illustrates weaknesses in Care Coordination, since managing referrals to the
programs is a care coordination function led by the CMHCs. DMH and the CMHCs should
review utilization data for accountability and performance improvement as a needed complement
to the solid DMH fidelity review program. During FY ’23, DMH paid for Core Services on a
cost reimbursement basis, which is a viable way to pay for care when utilization is adequate. For
FY ’24, when utilization of services remains far below the contracted capacity, DMH will
consider a fee for service payment to incentivize improved enrollment.

We conclude this discussion of Paragraph 2 compliance by reiterating findings from our March
2023 Report: engaging individuals with SMI in care is often difficult. They move around. They
may not believe they have an illness, may feel that prior care was unsatisfactory or that the side
effects of treatment outweigh the benefits. And ultimately, some people decline even the best
offers of care. Resource limits (e.g., the fact that travel time and mileage costs for clinical staff to
conduct a home visit or a crisis response are not reimbursed) make the work of engagement
challenging. But it is central to good care.
For individuals with mental health conditions that—especially when untreated—can result in
multiple hospitalizations, encounters with law enforcement and being jailed, better care
coordination is essential. The Monitor recommends that the State—DMH and Medicaid—
continue to work with the CMHCs to improve care coordination and to enable compliance with
the requirements of Paragraph 2. DMH has begun to do a good job on a similar issue—
improving State Hospital Discharge Planning. Additionally, the steps that DMH has taken to
improve coordination of care for individuals involved in civil commitment (see Paragraph 18
below) will be helpful but will not wholly address the problems we identify here.
Paragraphs 3-11: Core Services (Overview). At the heart of Mississippi’s plan to strengthen its
community mental health services, and as required by the Remedial Order, Core Services are
provided by every CMHC. The Core Services are specialized programs for individuals with SMI
who may require more than traditional office-based care. Office-based care in mental health
clinics provides medications and counseling to individuals who can monitor their health and who
are willing and able to come in for treatment. (Some CMHC’s, commendably, provide these
services via home visits.) In addition to office-based care in all Regions and most counties,
Community Support Services (mobile paraprofessionals who work out of clinics but provide
most of their services in the community) are provided by all CMHC’s and represent the first
Core Service.
Crisis services are Core Services provided and coordinated by Mobile Crisis Teams of therapists,
paraprofessionals, and Peer Specialists who can be reached on a 24/7 basis in each Region or
accessed via the new national “988” crisis line. CMHCs also operate Core Service Crisis
Residential Services known as Crisis Stabilization Units (CSUs). CSUs were provided in all
Regions except Region 15; with its absorption of 4 counties formerly part of Region 11, the
Natchez CSU is now in Region 15. CSUs provide brief, medically supervised community
residential care as an alternative to hospitalization.
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Ongoing Intensive Services programs are also Core Services. These programs provide mobile or
home-based treatment available in all counties, with the type of service varying by geography.
The final Core Services are supportive services: Supported Employment, Peer Support Services,
and Permanent Supported Housing.
The State (DMH) has taken substantial steps to achieve compliance:
   ● Funding the required services is the first essential step. Funding for the Core Services
     required by the Order has been provided to the CMHCs. By this Report, all the required
     services have been put in place, although staff shortages continue to affect some
     programs,
   ● Performance standards (“Fidelity measures”) have been developed for the Core Services
     where applicable and DMH is surveying performance for each service in each Region
     annually. Reviewing fidelity helps ensure the services are working as intended. In this
     Report we discuss our inspection of the DMH fidelity efforts, finding them to be
     competent.
   ● Efforts to collect and analyze data on services utilization have been improved. Previously
     the State did not have accurate data on the number of people served or the levels of
     services they received, making objective judgements about the adequacy of care
     impossible. Through diligent efforts with the CMHCs during FY ’22-‘23, DMH can now
     provide data on the numbers of people served and levels of services delivered. Medicaid
     previously reported service levels that it paid for. A FY ’23 change in data
     systems/contractors derailed Medicaid data reporting, which has recently begun again.
     The Monitor has conducted preliminary analyses with DMH data that we discuss in this
     Report. The analyses reveal substantial progress, .with significant challenges remaining
     in some programs in some Regions.
   ● In FY ‘23, DMH notified CMHC’s that it would tighten performance requirements for
     several programs. Based on performance in FY ‘23, reimbursement for the programs
     could switch from “cost reimbursement” (under which program costs are paid) to “fee for
     service” (under which units of services are paid for, like most health insurance). This
     development is related to patterns in reported services that we discuss later in this Report.
Fidelity of Core Services. DMH inspects all services periodically for compliance with its
Operational Standards. Additionally, DMH has developed a rigorous program of inspecting most
of the Core Services and assessing their fidelity to national evidence-based (research proven)
standards. These national standards exist for PACT and Individual Placement and Support (IPS)
Supported Employment programs. For these services, DMH has consulted with national experts
to ensure that their fidelity assessments are adequate. DMH has also developed fidelity standards
for the other Intensive Services (ICORT and ICSS), using relevant PACT standards, and for
Supported Employment/Vocational Rehabilitation partnership programs, using relevant IPS
standards. Finally, DMH has developed fidelity standards for Mobile Crisis/MCeRT programs.
The Monitor has reviewed all these fidelity standards. They are consistent with available
research and recommended best practices.
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During the second half of FY ’23 (March-June 2023) the Monitoring Team participated in about
a dozen DMH fidelity reviews, covering all the services mentioned above as provided in four
different Regions. We wanted to assess if the DMH fidelity reviews are conducted in a fashion
that provides an assurance that the services are functioning as intended. (We note that reviewing
data on performance is the other element of our assessment and discuss data review issues later
in this Report.)
Following our review of fidelity assessments, we developed an informal report and shared it with
the parties. The discussion that follows provides the highlights of this review for the Court and
for other interested parties.
Mississippi’s approach to defining and monitoring fidelity is solid. While ongoing assessment
and quality improvement are necessary, we report here on the adequacy of fidelity monitoring.
To assess this, we reviewed the Fidelity Scales and then participated in and observed reviews in
multiple Regions:
       • On Dec. 15-18 2022 we observed the review of Mobile Crisis (MCeRT) services in
       Region 6.
       • On Feb. 27-28 we observed reviews of PACT, ICSS and Supported Employment
       (Expansion) in Region 3.
       • On March 9-10 we observed the review of Mobile Crisis (MCeRT) services in Region
       12 (Coastal area).
       • On March 14-17 we observed reviews of PACT and ICSS in Region 4.
       • On March 28-31 we observed reviews of ICORT (3 programs), ICSS (2 programs) and
       Supported Employment (IPS and Expansion programs) in Region 12
Via these visits we observed at least two reviews of each program type and visited four Regions
including both the Hattiesburg and Gulfport areas of Region 12.
The DMH reviews are rigorous and conducted annually for each program; since the Regions
each operate 4-10 Core Service programs the review process is demanding for both DMH and
the CMHCs. The review processes vary somewhat by program; generally, each review includes
activities before the on-site visit (e.g., reviewing data on the program, and completing/reviewing
pre-visit questionnaires). The on-site visits include structured interviews with the CMHC
leadership team, program staff, staff who work with them, and individuals receiving services.
The interviews address how the program functions and may explore specific issues such as how
an episode of hospitalization was handled. Each review focuses on a single program and requires
1-2 days on-site. Administrative records including staff qualifications, training and experience
are examined.
A number of clinical records of people receiving care in the program are reviewed to assess
actual service delivery. For example, in the case of MCeRT reviews, prior to the visit the DMH
staff have selected 10 specific episodes of crisis care to individuals from various counties in the
Region and at various times of the day from the CMHC’s reports, and during the visit they
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examine the clinical records for these encounters. This is a good preliminary way to assess
whether MCeRTs are doing their job. DMH is now collecting more comprehensive data; in FY
’24 we will evaluate the adequacy of after-hours care, and whether MCeRT’s really do serve all
counties.
Near the end of the fidelity review visit, the DMH review team conducts preliminary scoring of
fidelity, and provides a preliminary debriefing of results, highlighting areas of concern.
Following the site visit, the team reviews its scoring in detail to achieve a consensus score and
produces a detailed written report for the CMHC. If aspects of fidelity are scored below an
acceptable level (usually a 3 on a 1-5 scale), the CMHC must develop a Corrective Action Plan,
and another fidelity review is conducted six months later.
Observations about program fidelity and the DMH monitoring effort. Based on the sample of
reviews we observed we conclude that the DMH fidelity monitoring effort is solid. Staff are
qualified, diligent, courteous, and professional. The reviews are rigorous and examine each
program through multiple lenses (interviews of staff, leadership and clients, reviews of
administrative and clinical records). We observed CMHC staff to be open to the reviews, and
appreciative of feedback. Currently, DMH is making modest improvements in the review process
that will be implemented in FY ’24—for example, consolidating leadership interviews for the
different programs to make the process more efficient.
Generally, we observed the programs to be functioning with an acceptable level of fidelity. Most
staff know what the program is supposed to do and are doing it. We believe the major challenge
impacting fidelity/quality is staff recruitment and retention. Vacancies impact the delivery of
care, and turnover is stressful and creates orientation and training demands for the organization.
As an example, we found typical challenges in the Mobile Crisis MCeRT program in Region 12
(Coastal area). This program, serving former Region 13, was staffed with two full-time
employees (a single clinician and Peer Specialist) plus the full-time supervisor and on-call after
hours staff. The program had several vacancies, so it was functioning with about 50% of the
planned full-time staff. Nonetheless, the program was doing its job. People in crisis were being
seen in a timely way. Crisis care continued until the crisis episode was over. Due to dedication
and teamwork, adequate care was being provided. But we do not believe this level of effort and
quality can be sustained without recruitment for the vacant positions.
Another example also illustrates this challenge. In a Supported Employment program in another
Region, a newly recruited Supported Employment Specialist was working hard but was unable to
perform her duties adequately. She was periodically pulled off her employment work to cover
other responsibilities. As a result, individuals needing help with work did not get it. The CMHC
leaders felt the reassignments were necessary to cover functions like checking people in for
therapy appointments, suggesting a view that this administrative duty was more important than
helping people get jobs. In this case, the program was not functioning as intended and fidelity
was rated as poor.
The staffing challenge faced by Core Services exists throughout Mississippi’s mental health
system and affects service delivery in systematic ways. We discussed this in our March 2023
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Report. In some instances, mental health clinics are operating with a 50% vacancy rate for
therapists. Obviously, this compromises access to and quality of care.
Overview of compliance issues for all Core Services. The State has now funded all the Core
Services required by the Order, and our review of data confirms that the services are operational.
There are some programs that are not adequately utilized, and there are many staffing vacancies,
but the State has met the first test of compliance: creating the needed services.
Meeting the second test (are the programs functioning as intended) has two components:
assessing their functioning and examining data on their use. As we discussed above, for most of
the Core Services, DMH conducts regular reviews of quality/fidelity. Data on program
enrollment and services are now collected regularly. These are milestones of accountability and
compliance. The data do reveal performance problems with Core Services in different Regions.
Some of these problems are robust (e.g., programs operating at less than 50% of funded
capacity), but the work to remedy them and achieve compliance is manageable compared to the
investments and efforts made to date.
The Monitor will review the performance of other Core Services in 2024. We discussed Peer
Support Services in earlier reports; we observed there is an adequate training program to prepare
Peer Specialists but variable understanding and uneven use of Peer Specialists in different
CMHCs. There are persistent issues in Peer Support Service recruitment and retention, driven by
compensation and job satisfaction. With regard to Supported Employment, we have observed
that fidelity reviews are competent—the good news—and that Supported Employment services
are not delivered in many counties—the bad news. We have described some challenges
regarding Permanent Supported Housing but have not yet assessed it.

Paragraph 4: Mobile Crisis Teams. Mobile Crisis Teams are also referred to as MCeRTs. DMH
has provided all the funding for these services required by the Order. These teams are organized
and deployed differently across Mississippi; the differences are partly an appropriate response to
regional differences in population and geography and may partly reflect staffing problems,
inconsistent implementation and need for monitoring. Each Region receives grant funding and
can seek Medicaid reimbursement for its Mobile Crisis services. Within a Region, some staff are
dedicated to Mobile Crisis work, and some mobile visits—especially after hours—may be
conducted by on-call staff who also work in other programs. Federal ARPA funding ($100,000
per Region) is being awarded during FY ’24 to stabilize and enhance MCeRT programs
A second aspect of compliance for MCeRTs is the adequacy of DMH fidelity reviews. In the
absence of an agreed national standard for Mobile Crisis services, DMH designed a fidelity
monitoring program for MCeRTs and has been inspecting them annually. During FY ’23, DMH
made improvements to the monitoring protocol. During November, the Monitor and staff
participated in fidelity reviews of Region 6 and Region 12 MCeRTs to assess this oversight. We
were impressed by the thoughtfulness of the approach, the thoroughness of the DMH team, and
the collaborative approach to monitoring.
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A final aspect of compliance is whether the programs are serving individuals as intended, e.g., in
all counties and within the time parameters defined in DMH Operational Standards. During FY
’23 DMH worked with the CMHC’s on data reporting specific to these services. For example,
tracking the time from when a crisis call is made to when a mobile crisis visit is made—when
such a visit is deemed necessary—is a key aspect of quality and compliance. Similarly, ensuring
that MCeRT visits are made as needed to all counties and all days of the week/hours of the day is
essential. This is sampled in fidelity reviews but must be validated via program data. These
issues can be measured via data now being collected. We will be able to assess performance on
these issues in FY ‘24. Therefore, a finding of full compliance for this Paragraph will turn on
review of the data that DMH began to collect during FY ’23.
Paragraph 5: Crisis Residential Services. These programs, also known as Crisis Stabilization
Units (CSUs) are the most intensive community-based service in Mississippi. Created to provide
an alternative to hospitalization, CSUs have internal design and staffing reminiscent of
psychiatric inpatient units but are free-standing 8-16 bed residential facilities to stabilize people
in crisis. All the funding required by the Order has now been provided for CSUs. The CSU in
Natchez, formerly in Region 11, will now be operated by Region 15. This CSU closed briefly in
July of 2023 as part of the transition of former Region 11 counties to Regions 12 and 15. The
CSU in Marks (Region 1) was closed as part of the merger with Region 6 and may be opened
elsewhere.
During FY ’22 DMH allocated an additional $400,000 to each CSU to improve/stabilize staffing
and to reduce denials of admissions due to behavioral or health challenges. Additionally, via
federal ARPA funds ($5.6m) to be available in FY ’24 DMH plans to increase CSU capacity by
about 65 beds via expansion of smaller CSUs in several Regions and opening of new CSUs in
Regions 8, 9, and 12. A DMH funded CSU is also planned for DeSoto County (Region 4).
DMH statistics indicate that most people admitted to CSU’s are discharged to community care,
meaning that hospitalization is usually avoided. For the last 10 months of FY ’22, DMH reports
that only 195 of 3108 (6%) people admitted to CSU’s were transferred to State Hospitals. This is
positive. (Full FY ’23 data was not available as this Report was drafted.) On the other hand, most
people who are admitted to State Hospitals including most admitted from jails do not get a
chance at CSU care before they are admitted. The DMH FY ’22 data also show that 83% of
Hospital admissions were of people who had not first received CSU care. These are weaknesses
that require attention.
A number of people referred for CSU care are not admitted. The biggest reason is that some beds
are closed due to staffing problems. Other reported denials are because individuals are judged by
CSU staff to be too violent, or to need substance abuse care that the CSU does not provide.
These are subjective clinical decisions, made with great variability. DMH reports there were
1290 denials of admission to CSUs in FY ’23. Only 13 denials were reported for Region 8’s
CSU while over 200 were reported for Region 9’s CSU. DMH is now addressing these
challenges of denials and diversion effectiveness by imposing requirements on CMHCs for FY
’24 that CSU’s do not exceed acceptable levels of service denials while maintaining diversion
rates above 85%.
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Paragraphs 6-9: PACT (Paragraph 6), ICORT (Paragraph 7), ICSS (Paragraph 8) and Supported
Employment Services (Paragraph 9). Funds have been distributed for all the services required in
Paragraphs 6-9 of the Order. As of FY ’23 all the services have been developed and are
operational. There are periodically staff vacancies in these programs. Generally, the team
programs (PACT, ICORT and IPS) can work around staff vacancies and provide services if a
staff position is vacant. This is more challenging for ICSS and VR Partnership Supported
Employment, which rely on solo staff working within the CMHC.
A second element of compliance is quality/fidelity. We have determined that the DMH fidelity
review process covering all these programs is adequately and professionally managed. Second, a
review of data confirms whether the programs are serving people with SMI appropriately—is
there access where it is needed, and are individuals receiving sufficient services to benefit?
DMH now collects data on the levels of Core Services received by individuals. We reviewed this
data for the second quarter of FY ’23 to make a preliminary assessment of whether the programs
are serving people as intended and discuss the results below regarding each of these services. For
PACT and ICORT, DMH is imposing performance expectations for FY ’24 including
maintaining at least 70% enrollment.

Observations about sufficiency (frequency) of Intensive Services. For these services to work well
and cost-effectively, good Regional care management is essential to ensure the people with the
highest needs are enrolled, and good program management is needed for daily oversight of care.
We discussed data related to enrollment/care coordination above related to Paragraph 2. Here,
we focus on the sufficiency of services.

PACT and ICORT services are delivered by teams, so that individuals can receive
medical/nursing, psychosocial, peer support and (in the case of PACT) employment and
substance use support from the team. This allows teams to do whatever is needed to provide
support and treatment in community settings. These Intensive Services are mental health
analogues to the home visits and rehabilitation care that are provided in the medical health
system to individuals immediately after hospitalization for surgery.

In addition to having varied staff capabilities, all Intensive Services can provide frequent,
intensive care that can come to the individual. Providing frequent-enough care is one of the
elements of fidelity for all these programs. For PACT and ICSS, an average of 2 to 3 visits/week
leads to a Level 3 rating (essentially a passing grade) on this criteria. The Level 3 “passing”
score for frequency of ICORT visits is an average of about 2 to 2 ½ visits per week. (High
fidelity PACT teams see individuals 4+ times per week for a total of 2+ hours; high fidelity
ICORT teams provide 3+ visits for 2+ hours and high fidelity ICSS provides 4+ contacts totaling
2+ hours per week.)

For PACT, ICORT and ICSS services, we reviewed the frequency of services use (second
quarter, FY ’23) and what it revealed about the sufficiency of care. (We did not examine closely
the intensity or total amount of care time that individuals received. Intensity of care is closely
related to frequency of visits but some visits may include multiple services. We believe
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examining the frequency of visits is a sound way to assess the adequacy of contacts.) We discuss
these results below, specific to each type of Core Service.

Paragraph 6: Programs of Assertive Community Treatment. PACT teams are full clinical teams
including prescribers, nurses, therapists, paraprofessional community support workers, and a
Peer Support Specialist, providing mobile services. PACT is the most intensive non-residential
service in the Mississippi mental health system. There are 10 teams in Mississippi, serving larger
counties or small groups of counties that together are large enough to justify the service. All
PACT teams have existed for several years at this point, and all have received several fidelity
reviews.
We discussed enrollment in PACT services regarding Paragraph 2 since enrollment in Intensive
Services is subject to CMHC care coordination practices such as internal referrals to teams. In
Table 1 below we also consider the frequency of services that individuals received:
       Table 1: PACT Service Enrollment and Intensity (Average Units/Week)
        Average Units of Service/week (Second Quarter FY ’23)
               Region # Served/cap     <3     3-5         6+
               3        61/80          23     19      19
               4        76/160*         9     18      49
               6        68/80           22    35      11
               8        53/80           24    16      13
               9        89/80           89** 0        0
               10       36/80*          13    22      1
               12       125/160         39    47      39
               15       58/80           56** 2        0
               Total   566/800        275    159      132
               *Enrollment < 50% of funded Capacity (Average enrollment is 71% of funded
               capacity)
               **Only low-frequency services (2 or fewer contacts/week on average)
The data show that most PACT teams are functioning as intended; they are serving reasonable
numbers of people and providing reasonably frequent services. While continued improvement is
possible, the data coupled with the adequacy of statewide fidelity reviews shows the emerging
maturity of PACT services and their essential role in providing community care to individuals
who are very needy and require this intensive support to avoid crises and State Hospital
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readmissions. The low rate of readmissions for people served by PACT teams (4.1% in FY ’22)
affirms this.
Of 566 individuals enrolled in PACT services in the period we reviewed, about half received less
than two services on average per week. This is less than optimal. PACT teams are expected to
adjust the frequency and intensity of services to individuals on an ongoing basis, but delivering
less than two visits per week on average is a low frequency of service. In Regions 3, 4, 6, 8, 10,
and 12, a majority of people enrolled in PACT received an average of three or more services per
week. This is positive. On the other hand, in Regions 9 and 15, almost no one enrolled in PACT
received three or more services per week on average. These PACT teams are not delivering
frequent services, but appear to be functioning like crisis teams, delivering limited services that
may not provide the full benefit that PACT is intended to achieve. These Regions with DMH
should consider how to address this.
Paragraph 7: Intensive Community Outreach and Recovery Teams. ICORTs have been described
as “mini-PACT” teams including a therapist/clinician, Registered Nurse, Peer Support Specialist,
and part time Community Support Specialist. The fidelity standards for ICORT are based on the
PACT standards. The full caseload for an ICORT is 45 individuals. As with PACT, ICORT
teams deliver most services in communities (medication prescribing is done at clinics). ICORTs
are the most intensive non-residential service in mid-sized counties or groups of counties; there
are 16 teams in Mississippi.
As we have previously indicated, all the ICORT teams are funded and operational, and the
fidelity review process for ICORTs is thorough. We found that low enrollment was a bit more of
a challenge for ICORTs than for PACT teams, with enrollment below 50% in Regions 1, 2, 8,
and 11. Data on ICORT enrollment and frequency of service use (second quarter FY ’23) is in
Table 2 below:
               Table 2: ICORT Enrollment and Service Intensity (Units/Week)
                      Average Units of Service/week (Second Quarter FY ’23)
               Region     # Served/cap       <3        3-5   6+
               1              19/45*         12        7     0
               2              24/90*         3         7     14
               6              28/45          27**      1     0
               7              52/90          24        26    2
               8              17/45*         17**      0     0
               9              32/45          32**      0     0
               10             59/90          59**      0     0
               11             43/90*         43**      0     0
               12             83/135         27        22    34
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               14               41/45          22        8    11
               Total       398/720 (55%) 266             71   61
               *Enrollment <50% of Funded Capacity
               **Low frequency of services
We found that about two thirds of the people receiving ICORT services had, on average, two or
fewer services per week. On a statewide basis, this is not sufficient. In Regions 2, 7, 12 and 14
more than half of the people receiving ICORT services commendably received 3 or more
services per week. In Regions 6 and 9 combined, only one individual received 3 or more services
on average. In FY ’22 the readmission rate to Hospitals for people receiving ICORT services was
6.4%. This is about 50% higher than the readmission rate for PACT; some ICORT teams are
relatively new and monitoring readmission trends is suggested for the future.
Paragraph 8: Intensive Community Support Specialists (ICSS).
Individual ICSS staff work with a small caseload (capped at 20), so they can provide intensive
support for some people on their caseload at any time but must juggle the level of support that
people need on an ongoing basis. The DMH fidelity scale defines 2-2.99 contacts per week as
Level 3 compliance—essentially a passing grade on the item “Frequency of contact.” We
examined individual level service data for ICSS for this quarter; the results are in Table 3 below:
        Table 3: ICSS Enrollment and Service Intensity Units/Week
                   Average Units of Service/week (Second Quarter FY ’23)
               Region # Served/cap <1          1--3      4+
               1       44/20            32**   12        0
               2       22/20            8      12        2
               3       61/60            7      29        25
               4       15/60*           1      5         9
               6       Region 6 ICSS data missing from this quarterly report
               8       5/20*            0      5         0
               9       22/60*           1**4   8         0l
               10      47/70            18     28        1
               11      77/100           46**   31        0
               12      86/120           46**   31        9
               14      20/20            1      13        6
               15      28/20            17**   11        0
               Total: 427/570 (72%) 190        185       52
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               *Enrollment is <50% of funded capacity
               **A majority of individuals received <1 service/week
As the data indicate, almost half of the 427 individuals receiving ICSS services in this quarter
had on average less than one contact per week—a level of support that may not be adequate for a
number of people receiving this service. ICSS programs delivered on average more intensive
services in Regions 2, 3, 4, 10, and 14. It may be that low levels of frequent service are due to
staff vacancies; however, this pattern needs attention to reach compliance. The lower frequency
of staff contacts with people receiving ICSS services may explain why readmissions to Hospitals
from people enrolled in ICSS are higher (7.5% in FY ’22) than from PACT (4.1%) or ICORT
(6.4%).
Paragraph 10--Peer Support Services. Peer Support Services are defined and requirements for
Peer Support Services are listed in Paragraph 10 of the Order. This Paragraph requires these
services to be provided at the primary CMHC office in each Region. The Order also requires that
by the end of FY 2022, Peer Bridgers (a specialized type of peer support, supporting successful
transitions between services) will be in place in each State Hospital. These CMHC and State
Hospital positions have all been funded by DMH, but our observations indicate that vacancy
rates are high. Additionally, Peer Support Specialists are part of the staff for several team
services identified in the order: MCeRT, PACT and ICORT teams.
DMH has also provided funds to each Region to support a Peer Bridger in each CSU, and on a
Regional basis to assist with State Hospital discharge planning. These are positive developments
and we commend DMH for going beyond the minimum requirements of the Order in supporting
Peer Bridgers. Our observations show that Peer Bridgers make a difference in connecting people
to care, both at State Hospital and CSU discharge/transition periods and when they may become
disconnected from ongoing community care.
In our September 2022 Report we discussed Peer Services in some detail. The observations and
guidance in that Report still apply. We did not review Peer Support Services closely during this
period. However, we received feedback from Peer Support Specialists in a listening session we
conducted at NAMI Mississippi’s conference in May. These individuals all voiced concern about
what they perceived as inadequate support for their work; dimensions of poor support in their
views included salaries that are insufficient for recruitment and retention, and limitations on the
work they could perform (in their view the limits imposed by supervisors were below their
qualifications and compromised their effectiveness).
These concerns were voiced by a small sample of individuals, but they were consistent with what
we previously reported: across the Mississippi mental health system, there is great variability in
how leaders in different State Hospitals and CMHC’s value and support Peer Support Specialists.
This needs review and attention by DMH.
Paragraph 11: Permanent Supported Housing (PSH). This paragraph defines supported housing
and requires the State to continue current investments. For FY ’24, PSH funding of $300,000
was allocated to Open Doors. In FY ‘22 a total of 239 individuals received Supported Housing
Services. The State (DMH and the Mississippi Home Corporation) has also designated about 400
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housing vouchers funded via tax credits for individuals with SMI via the “Mississippi
Affirmative Olmstead Initiative.”
The funding levels and provision of vouchers meet the minimal expectations of the Order. We
have discussed other housing challenges in previous Reports.
Paragraph 12: Medication Access: This paragraph requires an annual allocation of $200,000 for a
medication assistance fund to assist people with SMI who cannot afford or otherwise access
medication needed to prevent hospitalization. The underlying principle is that since medication
treatment is usually essential to manage SMI, access to medications is essential. DMH reports it
has distributed $200,000 for FY ’22, FY’23 and FY ‘24. The use of the funds is improving but
remains uneven.
Paragraph 13: Diversion from State Hospitals. This paragraph identifies specific actions to be
taken by CMHC’s during preadmission screening for hospitalization: 1) determining if
individuals meet criteria for intensive services (PACT, ICORT, ICSS) and arranging these
services as appropriate, 2) considering if a CSU placement in lieu of hospitalization is
appropriate, unless State Hospital commitment has already been ordered.
We have noted challenges regarding diversion from Hospitals including weaknesses in CMHC
care coordination and the variable practices of Chancery Courts. The results include people being
committed to Hospitals without the opportunity to receive Intensive Services or a CSU
placement, people being transferred to Hospitals after already being treated in private hospitals,
and people being held in jails awaiting beds.
Concern about commitment related issues led to the creation of a position of Court Liaison in
Region 12 to bridge the relationship between courts and the mental health system. Based on this,
DMH provided funds for 7 Court Liaison positions in FY ’23 and set aside federal (ARPA) funds
for 18 additional positions (just released in FY ’24). Funding related to House Bill 1222, which
we discuss under Paragraph 19, will provide 8 additional positions in FY ’24. Considering all
funding sources, 33 positions will be funded in all Regions, generally serving larger counties.
The goals are to make the mental health system more navigable, to connect people with
community-based services and to decrease commitments to Hospitals.
The Court Liaisons will focus on individuals who interact with the court system involuntarily
and with law enforcement. They will facilitate access to services that can prevent unnecessary
institutionalization (e.g., PACT, ICORT and ICSS) and should improve collaboration between
CMHCs, their crisis systems, law enforcement agencies and courts. They will educate staff and
families seeking mental health treatment about services. DMH created a statewide Clinical
Diversion Coordinator position to support and coordinate these activities.
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DMH provided the data below for the FY ’23 results of this program in the initial 7 Regions:
         FY ’23 Measures for Initial (7) Court Liaison Positions               Total
                                                                               Reported
 Referrals from Chancery Court                                                 997
 People served by Court Liaison                                                1,363
 Assessment interviews conducted with affiants                                 732
 Contacts with law enforcement personnel                                       638
 People diverted from placement under a writ or involuntary commitment process 880
 Referrals to CSUs                                                             467
 Referrals to PACT                                                             31
 Referrals to ICORT                                                            31
 Referrals to ICSS                                                             7
 Individuals waiting for admission to the Forensic Unit at MSH                 25
 Number admitted to Forensic Unit at MSH                                       2
 Jail Administrators contacted                                                 341


The initial results are promising and align with the requirements of the Order. As the effort is
implemented more broadly it should lead to better coordination of the commitment process and
use of Hospital alternatives, as well as to better data collection that will allow improved
monitoring of diversion from Hospitals and of the commitment process. The impact on Hospital
commitments and jail holds remains to be seen, and the Monitoring Team will evaluate this as
the program is more fully implemented.
Paragraph 14: Connecting individuals with serious mental illness to care. This paragraph refers
to a specific group of 154 individuals whose care was reviewed by DOJ experts prior to trial in
this case. DMH worked with CMHCs to attempt to locate the 154 individuals with SMI that DOJ
experts had interviewed and assessed prior to trial. Where individuals were located, CMHCs
were to “conduct assertive outreach, as appropriate, to engage persons in treatment…and offer
them Core Services which are appropriate and for which they are eligible.”
As we reported in March, the State has conducted the activities required under Paragraph 14. The
project revealed weaknesses in care coordination, but it was completed.
Paragraphs 15, 16, 17 Discharge Planning. Paragraphs 15, a-h; Paragraph 16 and Paragraph 17
provide the performance elements for discharge planning:
   ●   Discharge planning begins within 24 hours of admission to a State Hospital, and will:
   ●   Identify the person’s strengths, preferences, needs and desired outcomes.
   ●   Identify the specific community-based services the person should receive upon discharge
   ●   Identify and connect the person to the provider(s) of the necessary supports and services
   ●   Refer the person to PACT or ICORT when eligible
   ●   Include, where applicable and appropriate, assistance to the person in securing or re-
       activating public benefits
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   ● Prior to discharge, coordinate between the State Hospital and the community provider so
     that, upon discharge, the person continues to receive prescribed medications in the
     community appropriate for the person’s ongoing clinical needs.
   ● Identify resources for the person to access in the event of a crisis and educate them about
     how to access those services
   ● Records include an anticipated discharge date.
   ● For discharge plans for persons who have previously been admitted to a State Hospital
     within a one-year period, review the prior discharge plans, the reasons for the
     readmission and adjust the new discharge plan to account for the history of prior
     hospitalizations.
   ● Prior to discharge from the State Hospital, staff of the CMHC that will be serving the
     person upon discharge will meet with the person, either in person or via videoconference,
     to conduct assertive engagement and enroll persons in appropriate services.
   ● Peer Bridgers at each State Hospital are integrated in the discharge planning process.
In FY ‘23, DMH established a Department of Utilization Review (DUR) to perform chart audits
at Hospitals to monitor their discharge planning. The DUR director has compliance and survey
experience and the office now has two additional staff, one with Hospital experience and one
with community mental health experience. As we described in our March ’23 Report the DUR
provided in-service training to the Hospitals on the discharge planning requirements of the Order.
Additionally, they promoted use of the discharge planning forms used at South Mississippi State
Hospital (SMSH) which that Hospital had developed based on the Order. Then the DUR
developed a checklist based on requirements of the Order and began to use the form to conduct
audits.
 These reviews are now completed quarterly at each Hospital. The DUR requests lists of
individuals who have been discharged within the previous quarter, and of individuals readmitted
within one year of their discharge. A sample of 5% of the individuals discharged in the prior
quarter and all individuals readmitted is selected for review in an on-site inspection of records.
Upon completion of the quarterly audit, the DUR prepares an Audit Feedback Review for each
State Hospital. This review provides the results of the audit, a comparison to the prior quarter
and an indication of whether the performance remains the same, increased or decreased. This
information is shared with the State Hospital Director and other designated staff.
In this monitoring period, the Court Monitor Team observed the DUR audits conducted at the
Hospitals (except for EMSH, where the review was being conducted as this Report is written).
Based on our review, the DUR approach is a useful way to assess discharge planning and
measure compliance. We observed that expectations for discharge planning and the forms used to
record it are more uniform. We did observe that use of standardized forms without additional
training leads to some mechanical recording of information (e.g., of individuals’ strengths,
preferences and needs or whether they need PACT or ICORT services) that is not individualized
and therefore not especially useful in treatment and discharge planning.
We have made some recommendations for the DUR team, including some improvements in
sampling, and that they consider use of the “tracer methodology” to follow up on CMHC care of
people discharged--especially of individuals who were readmitted. As the Order notes, treatment
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and support for people who are readmitted should be evaluated and adjusted if needed. However,
it is often the community care that needs to be changed to keep individuals engaged in care,
rather than just changed treatment during the Hospital stay followed by care after discharge that
fails to keep people engaged.
In our visits to the Hospitals to observe the DUR process, we conducted our own chart reviews
of discharge planning and found them consistent with the DUR team’s results. We were able to
see patterns of discharge planning and make general observations about the patterns. The
primary purpose of our visits was to review the DUR process itself, and we did not review
enough records to make definitive compliance findings. But we do see improved performance
that will, with continued efforts, result in compliance with discharge planning requirements and
better outcomes for people in care.
Mississippi State Hospital. We reviewed ten records of persons discharged from MSH during the
third quarter (April, May, June). Based on our review of the records, we noted improvement in
discharge planning, summarized below;
      Discharge planning begins within 24 hours as evidenced by Social Services Notes
       documenting contact with the Community Mental Health Center and the family on the
       day of admission.
      The person’s strengths, preferences and needs are documented more consistently.
       However, they are not sufficiently person-centered, or related to the person’s condition,
       treatment, and recovery.
      In most records appointments for specific community-based services have been
       identified.
      In most records checklists indicate that persons were referred to PACT, ICORT or ICSS
       however intakes for these services and appointments for follow-up visits may not have
       been identified.
      In most cases there was evidence that the Community Mental Health Center met with the
       individual prior to discharge in person or virtually but this did not necessarily include a
       completed intake or active engagement in needed follow-up services.
      In all cases individuals were given contact information for places and people to contact if
       they experienced a crisis.
      In most cases there was an anticipated discharge date. The discharge date was a range of
       time and not a specific date.
      In two records of individuals who were readmitted there was no evidence of a review of
       the prior discharge plan and changes in treatment.
      For most records from the female receiving service there was evidence that the Peer
       Bridger participated in the discharge planning process. There was not a Peer Bridger on
       the male receiving service.
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                                                                MSH CHART REVIEW

                         Discharge planning begins within 24 hours of admission…                    3
                                                                                                                          7

                         Identify the person’s strengths, preferences, needs and…                   3
                                                                                                                          7

                             Identify the specific community‐based services the…        1
                                                                                                                                      9
  PERFORMANCE ELEMENT




                        Identify and connect the person to the provider(s) of the… 1                                                  9

                            Refer the person to PACT or ICORT when the person…              2
                                                                                                                              8

                               Prior to discharge, coordinate between the State…            2
                                                                                                                              8

                         Identify resources for the person to access in the event… 0                                                      10

                                          Include an anticipated discharge date                     3
                                                                                                                          7

                            For discharge plans for persons who have previously… 0          2

                          Prior to discharge from the State Hospital, staff of the…                 3
                                                                                                                          7

                         Peer Bridgers at each State Hospital integrated into the…                        4
                                                                                                                  6

                                                                                    0           2             4       6           8            10   12
                                                                                                        DOCUMENTATION PRESENT

                                                                             NO       YES


North Mississippi State Hospital. Six records of persons discharged from North Mississippi State
Hospital during the third quarter (April, May, June) were reviewed. Based on our review of the
records, there is some improvement in meeting the discharge planning performance requirements
as shown in the following observations and the chart below.
                         Discharge planning begins within 24 hours as evidenced by Social Services Notes
                          documenting contact with the Community Mental Health Center and the family on the
                          day of admission.
                         In most cases there was no documentation of the strengths, preferences and needs of the
                          individual. In some cases, the documentation was “none noted” or staff observations, not
                          the patient’s. As NMSH staff begin to ask for and include this information, they should
                          gather it in a fashion that facilitates improved treatment, better adherence to treatment
                          recommendations, and better connections with post-hospital care.
                         In most records there was evidence that appointments for specific community-based
                          services were identified for the individual on discharge.
                         In most records there was evidence that persons were referred to PACT, ICORT or ICSS.
                          The rationale for identifying the needed Intensive Services was not always clear, and the
                          services recommended on discharge were not always consistent with these
                          recommendations.
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   In most cases there was some evidence that the Community Mental Health Center met
    with the individual prior to discharge in person. At NMSH, case managers and Peer
    Bridgers (if there is one on staff at the CMHC) come to the hospital to meet with the
    Social Services Staff weekly. Usually, the case manager and Peer Bridger will visit with
    the individual on the unit during this visit. However, these visits and contacts were not
    always noted in the medical record, so we cannot tell if people were engaged in needed
    services or if intakes were completed to facilitate continuity of care.
   In all cases individuals were given contact information for places and people to contact if
    they experienced a crisis.
   In most cases there was an anticipated discharge date. The discharge date was a range of
    time and not a specific date.
   We reviewed one record of an individual who was readmitted; there was no evidence of a
    review of the prior discharge plan and a change in the current treatment or discharge plan.
   In most cases there was evidence that Peer Bridger was present at the hospital. The Peer
    Bridger works under the Psychology department and conducts A&D groups and works
    with individuals to complete a Wellness Recovery Action Plan (WRAP). This is a
    valuable effort; WRAP is known to facilitate recovery. However, the efforts of the Peer
    Bridgers and the WRAP itself are not adequately integrated into treatment planning and
    the medical record.
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                                                        NMSH CHART REVIEW

                            Discharge planning begins within 24 hours of…            1
                                                                                                                  5

                        Identify the person’s strengths, preferences, needs…                              4
                                                                                              2

                        Identify the specific community-based services the… 0                                             6
  PERFORMANCE ELEMENT




                         Identify and connect the person to the provider(s)…         1
                                                                                                                  5

                            Refer the person to PACT or ICORT when the…                       2
                                                                                                          4

                          Prior to discharge, coordinate between the State… 0                                             6

                          Identify resources for the person to access in the… 0                                           6

                                     Include an anticipated discharge date       0
                                                                                                                          6

                                For discharge plans for persons who have… 0 1

                        Prior to discharge from the State Hospital, staff of… 0                                           6

                            Peer Bridgers at each State Hospital integrated… 0                                            6

                                                                             0           1        2   3       4       5       6   7
                                                                                             DOCUMENTATION PRESENT

                                                                       NO        YES




South Mississippi State Hospital Seven records of persons discharged from SMSH during the
third quarter (April, May, June) were reviewed. Based on our review of the records, SMSH
remains consistent in meeting the discharge planning performance requirements as shown in the
following observations and the chart below.
                         Discharge planning begins within 24 hours as evidenced by Social Services Notes
                          documenting contact with the Community Mental Health Center and the family on the
                          day of admission.
                         The person’s strengths, preferences and needs are documented consistently. They are
                          person-centered and individualized.
                         In all cases there was evidence of appointments for specific community-based services
                          identified for the individual to receive after discharge.
                         In most cases checklists indicate that persons were referred to PACT, ICORT or ICSS
                          although intakes for these services may not have been completed. A high percentage of
                          individuals admitted to South Mississippi State Hospital have a substance use disorder.
                          Referrals are made for substance use disorder treatment.
                         In all cases there was evidence that the CMHC staff met with the individual prior to
                          discharge in person or virtually.
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                         In all cases individuals were given contact information for places and people to contact if
                          they experienced a crisis.
                         In all cases there was an anticipated discharge date.
                         In two records of people who had been readmitted, the documentation did show evidence
                          of a change in the discharge plan because of the review of the prior discharge.
                         In all cases there was evidence that Peer Bridger was integrated in the discharge planning
                          process.

                                                        SMSH CHART REVIEW

                            Discharge planning begins within 24 hours of…                                            6

                        Identify the person’s strengths, preferences, needs… 0                                               7

                        Identify the specific community-based services the… 0                                                7
  PERFORMANCE ELEMENT




                         Identify and connect the person to the provider(s)… 0                                               7

                            Refer the person to PACT or ICORT when the…                              3
                                                                                             2

                          Prior to discharge, coordinate between the State… 0                                                7

                          Identify resources for the person to access in the… 0                                              7

                                     Include an anticipated discharge date       0
                                                                                                                             7

                                For discharge plans for persons who have… 0                  2

                        Prior to discharge from the State Hospital, staff of…        1
                                                                                                                     6

                            Peer Bridgers at each State Hospital integrated… 0                                               7

                                                                             0           1       2       3   4   5       6       7   8
                                                                                             DOCUMENTATION PRESENT

                                                                       NO        YES


At the end of each audit, the Court Monitor Team and the DUR staff discussed findings and
found consensus on patterns of compliance. We noted the use of the recommended forms by staff
at MSH, contributing to improved performance. At MSH and NMSH, the discharge planning
information was not completed in some records. For MSH and NMSH as we noted above, the
documentation of individual’s strengths, preferences and needs was pro forma and not utilized in
the treatment plan which is therefore not sufficiently person centered.
We will summarize our compliance observations in the next section of this Report. We did not
review a sufficient number of records, or records at EMSH, to allow definitive compliance
findings. However, the observations we made indicate the Hospitals are beginning to achieve
compliance with most requirements of the Order for discharge planning. The requirements
where more improvement is needed to achieve compliance include:
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      Identification of individuals’ strengths, preferences and needs (to inform and personalize
       treatment planning; SMSH does this well).
     Referral for Intensive Services (PACT, ICORT, ICSS), and connecting individuals to these
       services where recommended on discharge. Ideally, complete CMHC intake during the
       hospitalization to smooth the transition to community care.
     Review of care for people who were readmitted (to include a review of CMHC care after
       the prior discharge) and adjustments in the discharge plan if needed.
     Personal contact of people while hospitalized by CMHC staff to make a personal
       connection and engage people in needed services.
The improvements in discharge planning are commendable. We note that the areas listed above,
where continued improvements are needed, are among the most consequential requirements for
good Hospital care, effective discharge planning and increased community tenure.
Paragraph 18: Technical assistance to Chancery Courts: This paragraph requires the State to
provide Chancery Courts in each county with an annual overview of available mental health
services, including alternatives to civil commitment to Hospitals. DMH staff held meetings with
Chancery Courts to provide information about the community treatment services available
through the CMHC in their Region to individuals with SMI. Meetings were held in 17 of the 20
Districts.
As we noted previously, given the decentralized role and diversity of chancery court operations
and relationships with CMHCs, increasing the consistency of court commitment activities in
Mississippi is challenging. The requirements of this paragraph provide a necessary but
insufficient framework for this. Court Liaison staff will help individuals and families as they
navigate commitment and make these processes more transparent and consistent. Additionally,
House Bill 1222 strengthened data keeping and reporting requirements for Chancery Courts via
the following provisions:
    • When admission to a treatment facility is ordered by the court, the chancery clerk shall
    make a record of the admission. Each chancery clerk shall maintain a record of the number
    of persons ordered by the court to be admitted to a treatment facility, the number of hearings
    held by the court to determine whether a person should be admitted to a treatment facility
    and the number of affidavits filed to admit a person to a treatment facility under Section 41-
    21-61.
    • The chancery clerk shall maintain a record each time such clerk receives a denial for
    admission to a community mental health center crisis stabilization bed, the reason provided
    to the clerk for such denial, and the subsequent action taken by the clerk upon receiving the
    denial.
    • Each chancery clerk shall provide the records required by paragraphs (a) and (b) of this
    subsection (2) to the Department of Mental Health within thirty (30) days of the end of each
    calendar quarter. Within sixty (60) days of receipt of the chancery clerk records, the
    Department of Mental Health shall provide a summary to the Chairpersons of the
    Appropriations, Public Health and Judiciary A and B Committees for the Mississippi House
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    of Representatives and the Mississippi Senate, the Coordinator of Mental Health, and the
    President of the Mississippi Association of Community Mental Health Centers.
These requirements, the data collection and reporting and the resources dedicated to improving
commitment processes will allow improved oversight of hospital diversion and commitments.
Paragraph 19: Technical assistance and training to providers: This Paragraph requires the State to
provide technical assistance and training to providers, with an emphasis on activities conducted
by individuals with experience in implementing Core Services. In our September 2022 Report
we reviewed the extensive but incomplete training that DMH provided in FY ’22. In our view,
those efforts adequately addressed training for Peer Specialists, but training for other staff was
uneven. In March 2023 we reported on other DMH training efforts and requirements including
the DMH credentialing process for mental health therapists. This is a solid general program for
the positions it covers:
                  Mental Health Therapist
                  IDD Therapist
                  Community Support Specialists
                  Addictions Therapists
                  Licensed Administrator
For staff in other disciplines (including Physicians, Nurse Practitioners, Nurses, Clinical Social
Workers, and Licensed Professional Counselors) DMH facilities and CMHCs simply accept
professional credentials issued by State or National credentialling entities, as well as evidence of
compliance with their continuing education requirements. These credentials do not consistently
provide competence in working with people with SMI, or knowledge of evidence-based and
Core Services, There is currently no credentialing process for mental health direct care staff (as
there is for IDD direct care personnel). These individuals interact on a regular, often daily, basis
with people with SMI in settings such as CSUs and group homes.
DMH has managed training requirements largely by delegating responsibility to CMHCs and
subscribing to a national mental health training system (Relias). Each CMHC is required to
develop an Employee Training Plan (Rule 12.2 and 12.4). In the past there was no requirement
that the plan include a focus on interventions for individuals with SMI or address evidence-based
practices (EBP). To respond better to requirements of the Order, DMH developed several
courses specific to PACT and ICORT and reviewed training materials available nationally from
SMI Advisor, a SAMHSA funded on-line training program developed by the American
Psychiatric Association. In March, 2023, DMH notified each CMHC Executive Director of new
staff training requirements to be met during FY ‘23. The requirements include the PACT and
ICORT trainings developed and provided by DMH, and a range of other training courses from
SMI Adviser.
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The CMHCs reported a total of 685 course completions by CMHC employees (some staff take
more than one course), summarized below:

         CMHC Employee Core Services Course Completion - FY 2023
                                                                                      Total
 Core Service                  Course Name                                            Participants
                               Peer Support Engagement Skills on Mobile Crisis
 Mobile Crisis Teams           Teams - SMI Adviser                                    99
                               Expanding the Evidence Base for the Crisis Care
 Crisis Residential Services   Continuum: Call Centers, Mobile Teams, and
 (CSU)                         Stabilization Units-SMI Adviser                        170
                               PACT/ICORT and Mississippi’s System of Care-
 PACT/ICORT                    DMH                                                    85
 Intensive Community           Care Transition Interventions That Facilitate
 Support Services/             Connections with Community Providers and
 Specialists (ICSS)            Decrease Hospital Readmissions-SMI Adviser             48
                               Supportive Housing for Homeless Adults with
 Permanent Supported           Serious Mental Illness: How Does It Work?-SMI
 Housing                       Adviser                                                31
                               IPS Supported Employment: Impact of the COVID-
                               19 Pandemic on Implementation and Outcomes,
                               and Implications for the Post-COVID Era-SMI
 Supported Employment          Adviser                                        33
                               Implementation of Peer Support Specialists in
 Peer Support Services         Mental Health Centers-SMI Adviser                      79
                               Continuity of Care in Coordinated Specialty Care
 Community Support             (CSC): Federal and Programmatic Perspectives-
 Services (CSS)                SMI Adviser                                            140
 Total                                                                                685


Additionally, DMH reports that, during FY ‘23,
    • 115 individuals were awarded the DMH Certified Mental Health Therapist (CMHT)
    credential. The certification examination includes 2 courses in the adult mental health core
    service areas of peer support and crisis response.
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    • 46 individuals were awarded the DMH Certified Community Support Specialist (CCSS)
    credential. The web-based exam/training component includes courses on the adult mental
    health core service areas of community support, crisis response, and assertive community
    treatment.
These developments show progress toward meeting the requirements of Paragraph 19. The
training delivered through SMI Advisor is responsive to the requirement for training delivered by
individuals with experience in Core Services. However, the reports of courses completed, while a
substantial improvement, do not identify the proportion of people providing Core Services who
received training and therefore does not allow us to assess impact or assign a finding of full
compliance. The adequacy of technical assistance to supplement training (e.g., to assure that
leadership staff are familiar with the requirements of Core Services) is not clear, and we will
attempt to assess this further.
Paragraphs 20 and 21: Data collection and review: These paragraphs require monthly collection,
review, and analysis by the State of detailed data on crisis services, civil commitments to and
long term stays in State Hospitals, and Core Service levels by county and region for both DMH
and Medicaid. Most of these responsibilities rest with DMH, which has devoted considerable
efforts to working with the CMHCs on data collection during FY ’22 and FY ‘23. Paragraph 24
(below) requires posting of this data on agency websites beginning at the end of FY22.
DMH has made substantial efforts to improve data collection:
   ● During FY ‘22 and FY ’23 DMH spent considerable time and energy working with the
     CMHC’s on data collection. Previously, data on local service delivery was variable and
     unreliable and insufficient for accountability. DMH worked intensively with each CMHC
     on data quality and began to post additional data on the Olmstead page of its website (see
     https://www.dmh.ms.gov/news/olmstead/ ).
   ● These DMH efforts and the report listed above provide information on the number of
     people served in each Region and County in each Core Service.
   ● Paragraph 21 of the Order requires “By the end of FY22, Mississippi will begin
     collecting, reviewing, and analyzing — on a monthly basis — person-level and aggregate
     data capturing the number of units of each Covered Core Service reimbursed under DMH
     grants, excluding Purchase of Service grants.” During FY ’23 DMH began reporting this
     information to the Monitor; it was used to evaluate the frequency of Intensive Services
     discussed earlier in this Report. The information is comprehensive. The parties conducted
     a joint conference in August to review this data collection.

Data collection and analysis to improve performance has been significantly improved but
remains challenging. Inconsistent and, in some cases, outdated Electronic Medical Records
(EMR’s) and billing systems in CMHCs are still problematic, affecting quality of care and
efficiency of operations. In FY ’22 the Office of the Coordinator of Mental Health Accessibility
with DMH secured an appropriation to improve CMHC EMR’s. The project is still being
reviewed by Information Technology and procurement staff in Mississippi government. Once it
proceeds, it will be a complex and challenging multi-year effort, affected by the complexity of
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interagency and State-Local relationships, the diversity of CMHC operations, and the fragmented
nature of the marketplace for CMHC EMR’s.

The Division of Medicaid in FY ’22 began producing and sharing monthly reports on the Core
Services it reimbursed. A DOM switch to a new data provider meant it could not provide these
required reports to the Monitor during most of FY ’23. However, DOM has now resumed
providing the required and requested reports.

Paragraph 22: CMHC compliance on Standards and Fidelity: This paragraph requires an annual
review by the State of CMHC performance on compliance with DMH Operational Standards and
on fidelity with DMH expectations (for Core Services where fidelity is measured). DMH has
conducted the necessary reviews and provided this data to the Monitor.

Paragraph 23: Clinical Review (stayed by Order of the Court)
Paragraph 24: Website posting of information and data for Paragraphs 19-21: This paragraph
requires the posting of the data described in these Paragraphs on agency websites (and provided
to the DOJ and Monitor). As noted above, DMH posted most information on its website. See:
https://www.dmh.ms.gov/news/olmstead/ Information on Paragraph 21 was posted in February
2023. The Monitor is not aware that DOM is posting mental health services information.
Paragraphs 25 and 26: Implementation Plan (stayed by Order of the Court)
Paragraphs 27 and 28: Termination and Monitoring: Monitoring requirements were laid out in a
separate Order of the Court; Termination of the Court’s oversight is dependent on compliance
with the Paragraphs above.
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 Compliance Findings in U.S. v. MS.
 Here we outline the compliance status of the State for each requirement of the Order, based on the
 observations
Compliance    in theinprior
           Findings    U.S. section of this
                            v. MS. Here we Report.
                                            outline the compliance status of the State for each requirement of
                   the Order based on the observations in the prior section of this Report

   Paragraph,                                  Summary of Compliance Findings
   Key Issues

1--State must       Paragraph 1 provides an overarching statement of expectations in the Order. Regarding
reduce              these expectations, we observe:
unnecessary
Hospital use via    State Hospital use (admissions, census, people with long stays) has been reduced over
adequate and        time. Some reductions were due to the pandemic and to staffing challenges. Now, to
appropriate         improve access the State is conducting a substantial expansion of beds— via reopened
services.           units at East Mississippi State Hospital and Mississippi State Hospital and in CSU’s. The
                    reopened units have resulted in increased admissions over the second half of FY ’23.
                    There are still delays in accessing CSUs and State Hospitals but FY ‘23 data suggests
                    delays have been reduced. Some people (who have not been charged with a crime) wait in
                    jails for State Hospital beds that are frequently occupied by people who were committed
                    and transferred from private hospitals where they were already receiving care. Recent
                    data also suggest some progress on reducing jail holds; people are still held in jails but for
                    shorter periods.

                    The system is not yet functioning efficiently to determine who could be stabilized in
                    community care and who needs Hospital care. The transfers from other hospitals and
                    priority on admitting people from jails means these individuals very seldom get CSU
                    care. Investments in Court Liaisons and data collection mandated by House Bill 1222
                    should help improve matters.

                    DMH has released funding for all the services listed in the Order, including funds for
                    some Core Services (Mobile Crisis, CSU’s) that go beyond levels required in the Order.
                    There has also been expansion, beyond the levels required by the Order, of CMHC staff
                    to assist with diverting people from criminal justice and State Hospital settings, and of
                    Peer Bridgers.

                    Access to acute care is also dependent on private facilities; more people are hospitalized
                    in general hospital psychiatric units and private psychiatric hospitals than in State
                    facilities. During this period, there were significant reductions in private hospital beds
                    when St Dominic closed its psychiatric unit in Jackson, which was licensed for about 75
                    beds. Regional dislocations also have occurred, e.g., a decision by Merit Health to move a
                    50-bed psychiatric facility from Vicksburg to Jackson, which may reduce access to care
                    for people in Region 15.

                    Establishing Core Services as required accomplishes the first element of compliance; this
                    has been done. Verifying the quality of those services is accomplished via reviews of
                    their fidelity to national or State standards. We indicate in this Report that DMH does a
                    good job with this. Finally, data review to show that people are being served as intended
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                     is a final crucial element. In this Report, we studied data on important Core Services
                     (PACT, ICORT, ICSS) providing intensive community care, finding a mixed picture.
                     Some services are functioning well in some Regions, but in others enrollment is low or
                     services are not intensive. Addressing these patterns will allow compliance to be
                     achieved for these services. For crisis services, data will be available and we will examine
                     it in FY ’24.

                     To summarize, many elements of needed care have been put in place. Now the challenge
                     is to make it work.

                     PARTIAL COMPLIANCE
2--CMHC’s            There is a great deal of variability among CMHC’s. Some of this variability reflects local
…(are)               adaptation to different regional characteristics (e.g., rurality, poverty). However, some of
“responsible for     the variability affects the availability and adequacy of services. In previous Reports, we
preventing           found that people are often readmitted after becoming disconnected from care and not re-
unnecessary          engaged, that alternatives to hospitalization are not always considered and that some
hospitalizations”    people wait in jail for State Hospital beds.
A) ID individuals
with Serious         The State established procedures for the Coordinator of Mental Health Accessibility
Mental Illness       (housed in the Department of Administration and Finance) to evaluate, and if needed to
(SMI) who need       dissolve/merge financially troubled Regions. This was done in the past year with former
services             Region 1 merged with Region 6, and former Region 11 dissolved, with 5 counties added
B) screen people     to Region 12 and 4 counties added to Region 15. Provisions to assess the ongoing
with SMI in care     financial viability and overall functioning of CMHC’s are not as clear. The mergers
for need of core     averted the overall failure of services in the Regions that were consolidated/dissolved but
services             also impose significant local management challenges.
C) Coordinate care
D) Divert from SH    Statewide, care of people on discharge from State Hospitals has improved (e.g., people
via care             are regularly discharged with medications and with a follow-up appointment). However,
                     there are still problems and inconsistencies. For example, many of the individuals who
                     are hospitalized do not get a (face to face or video conference) visit from their CMHC
                     before they are discharged. Some people who miss scheduled post-hospital appointments
                     get good follow-up outreach and are re-engaged in care, while others may be “lost to
                     care” after inadequate follow-up. In previous Reports, we described how key compliance
                     metrics—such as CMHCs contacting hospitalized clients, clients completing initial visits
                     after discharge, and CMHCs providing adequate follow-up/engagement efforts—were
                     met about half of the time.

                     In this Report, our study of data on Intensive Services found that a number of programs in
                     various Regions had enrollment less than 50% of funded capacity. Improved use of
                     Intensive Services via better management of referrals to these programs is needed.

                     PARTIAL COMPLIANCE
3--State has         Statement of fact, not a Compliance requirement.
adopted Core
Services.
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4--Mobile teams:      DMH has provided grants for Mobile Crisis services to all Regions and has now awarded
A) defined, Op.       an additional $1.4M in federal funds to help stabilize staffing; we previously found
Std. 19-19.4 cited    elevated levels of staff vacancies in some Mobile Crisis programs. DMH implemented a
B) “1 team/region”    new Mobile Crisis reporting system during FY ’23 and we look forward to reviewing
(2 in 12)             results.
C) maintain
hotlines, assist w    During FY ’23 (effective 7/16/2022) a single new national 3-digit number for mental
stabilization, help   health crisis and suicide prevention (988) was introduced, and for the first time
connect to care,      substantial federal resources to support crisis call centers has been provided. Mississippi
work with law         has worked to build in-state capacity to manage 988 calls (over 95% of calls are answered
enforcement, seek     in the state which is superior performance) and collaborated with stakeholders including
to coordinate with    law enforcement and 911 system operators. The data DMH is now collecting should show
911                   how effectively 988 call services are connected to regional crisis services.
D) state monitors
response time         DMH has developed and implemented a sound framework for measuring performance
                      (fidelity) of Mobile Crisis services and has conducted Fidelity Reviews in all Regions.
                      During this period, the Monitor observed these reviews in Regions 6 and 12; they were
                      carefully and collaboratively conducted. Given improved DMH data collection on Mobile
                      Crisis services we will be in a much better position to assess statewide compliance during
                      FY ‘24. We do not yet know if the improvements have addressed weak points in crisis
                      response (e.g., mobile visits after hours and services to outlying areas) are improved.

                      PARTIAL COMPLIANCE
5--Crisis             DMH has provided grants for CSUs to all Regions except Region 15. Effective July 2023
Stabilization         Region 15 absorbed four counties from Region 11, including its 12 bed CSU—where
Units                 services were temporarily curtailed in July 2023 due to transition challenges. During
A) Defined, Op.       FY2022 DMH awarded $400,000 in additional funding to each CSU to enhance security
Std. cited            and/or clinical staffing, with the aim of reducing denials of access. The State is now
B, C) To be funded    finalizing release of $6.4M annually for the next 4 years in federal resources approved by
in each Region        the Mississippi Legislature to expand CSU’s. DMH is awarding this funding to several
(including 12 beds    Regions with smaller (8 or 12 bed) CSU’s, to increase capacity up to 12 or 16 beds, and
in Region 11 by       to open additional 16 bed CSU’s in Regions 8 and 9. Resources to support a 12 bed CSU
end 2022) and         funded with DMH general fund resources are available to DeSoto County (Region 4).
sustained.
D) Region 15 can      Statewide data has previously shown that less than 10% of individuals admitted to a CSU
use other CSU’s       are transferred to State Hospitals, which is a marker of success. However, there are delays
E) State monitors     or denials of admissions to CSU’s, most people admitted to State Hospitals are not served
including diversion   at CSU’s (including individuals committed/transferred to State Hospitals from private
rates and             hospitals and jails) and people not charged with crimes are still being held in jails
admissions            awaiting treatment. DMH has put some relevant performance metrics for CSU’s in place
bypassing CSU’s       in FY ’24.


                      PARTIAL COMPLIANCE
6-PACT. Defined.      PACT teams are now funded in all the Regions required in the Order. DMH reports that
Op. Std. 32.1-32.8    16 people being served by PACT teams were readmitted to State Hospitals in FY21,and
cited.
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A) MS will sustain    31 in FY’22 (we do not at this time have FY ’23 data). This is a marker of the program’s
10 teams (see         effectiveness.
Exhibit 1 of Order
for regions/          Fidelity reviews of PACT programs are conducted by DMH. DMH obtained expert
counties served)      consultation on conducting reviews and continues to improve its monitoring. The Court
B) MS will            Monitoring Team participated in reviews of several PACT teams during this monitoring
conduct fidelity      period; the reviews were competently done and the programs functioning adequately.
reviews, submit
scale with            Utilization of PACT has improved since the time of trial, with the State reporting 674
Implementation        individuals served in FY21 and 740 served in FY ‘22. Our review of PACT team data for
Plan (STAYED)         this Report found adequate enrollment in most Regions, but very low (<50% enrollment)
                      in several Regions. Additionally, teams in several Regions were not delivering
                      sufficiently intensive services. Achieving acceptable levels of enrollment and service is
                      necessary to achieve compliance.


                      PARTIAL COMPLIANCE
7==ICORT.             DMH has provided funding to support all the 16 ICORT teams identified in Attachment 1
Defined, Op. Std.     of the Order. All teams are now operational. DMH reports 23 people served by ICORTs
32.9-32.13 cited.     were readmitted to State Hospitals in FY21, and 39 in FY ’22, This small number of
A) 16 teams per       readmissions is a positive indication of effectiveness.
Exhibit 1. Teams
will meet 32.9-13     DMH is conducting fidelity reviews of ICORTs and used the expert consultation on
B) Fidelity scale,    conducting PACT reviews obtained in the Fall of 2022 to make improvements in the
reviews               ICORT Review process. The Court Monitoring Team participated in fidelity reviews
                      during this reporting period; they were conducted professionally and effectively.

                      The monitoring team reviewed data on ICORT services from the second Quarter of FY
                      ’23 to assess if teams are serving individuals as intended. Teams in several Regions were
                      providing services for fewer than 50% of the funded capacity, and in a number of
                      Regions the ICORT teams were not delivering sufficiently intensive services. Addressing
                      these issues is necessary to achieve compliance for ICORT services.
                      .
                      PARTIAL COMPLIANCE
8--Intensive          DMH has made available the funding to support all the Intensive Community Support
Community             Specialists identified in the Order. A reported 938 individuals were served in FY ’21 and
Support               1054 in FY ’22.
Specialists.
Defined. Op. Std.     DMH is conducting fidelity reviews of ICSS. The Court Monitoring Team participated in
32.18 cited.          several DMH ICSS reviews in 2023 to assess the service’s effectiveness at preventing
A) 35 ICSSs to be     hospitalization. We found that the reviews were conducted professionally and effectively.
funded, sustained
B) Meet criteria of   For people who received ICSS services in FY ‘22, 79 (7.5%) were readmitted to State
Op. Std. 32.18        Hospitals. This is a higher readmission rate than for people served by PACT or ICORT.
                      When we reviewed data on individuals served by ICSS we found that programs in some
                      Regions were serving fewer than 50% of the individuals of their funded capacity. We also
                      found that many individuals were receiving less than one contact per week; an average
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                      service level of 2-3 contact per individual per week is deemed to be an acceptable
                      performance.

                      Addressing these issues is needed to achieve compliance for ICSS services.

                      PARTIAL COMPLIANCE
9--Supported          DMH has provided funding to support Individual Placement and Support (IPS) services
Employment—           in 7 Regions, and to support a VR Supported Employment specialist in the other
IPS/VR. Defined,      Regions.
Op. Std. Cited
A) Each Region        DMH is conducting fidelity reviews of Supported Employment programs and obtaining
will provide SE by    expert consultation on conducting reviews; the Court Monitoring Team assessed the
either IPS or VR      DMH fidelity reviews in FY ’23 and found them to be conducted professionally and
                      effectively.
collaboration
B) IPS to be          During FY ’22, 533 individuals received Supported Employment services. In reviewing
sustained or          the number of individuals receiving services by county, we found that in over half of
developed by end      Mississippi’s counties, no one received Supported Employment. Improving access is
of FY 22 in           needed to achieve compliance with Supported Employment services.
Regions
2,4,7,8,9,10,12       DMH has applied for federal funding to upgrade non-IPS Supported Employment sites to
C) IPS meets Op.      IPS which would improve access and quality.
Std. 24.4-6
D) In other
Regions, SE
offered by ES
Specialists with an
MOU with MS
Div. Rehab Svces
E-F) Fidelity to be
measured.
G) State to submit
scales with
Implementation        PARTIAL COMPLIANCE
Plan--STAYED

10--Peer Support      DMH has provided funding for the Peer Support Service positions identified in the Order
Services (PSS)        and has provided additional funding to each Region to support a CMHC Peer Bridger
A) State to sustain   position and CSU Peer Bridgers to focus on transitions from acute care (State Hospitals,
PSS at the primary    CSU’s) to community care.
CMHC office in
each Region           In our September 2022 Report, we described a limited study of Peer Support Services in
B) Plan to            Regions 2 and 3, which we observed as having a good understanding and commitment to
implement PSS at      Peer Support Services. We observe variability in how Peer Support Specialist positions
other offices         are filled and how peers are utilized. Feedback from some Peer Specialists indicates that
(stayed)              there are persistent challenges including compensation, and in some CMHC’s a failure to
C) Peer Bridgers at   allow Peer Specialists to fully utilize their skills and experience. We conclude additional
all Hospitals
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                       efforts (leadership, technical assistance) are needed statewide and in some CMHCs to
                       enable adequate use of peers and will review this in FY ’24.

                       PARTIAL COMPLIANCE
11--Permanent          DMH has made the funding required by the Order available. Chart reviews we conducted
Supported              in prior periods of people admitted to/discharged from State Hospitals show that in most
Housing                cases people are not being held in the Hospitals because no housing is available—but on
A) $150k to assess     the other hand we observed discharges to housing arrangements that were suboptimal
State Hospital and     (e.g., back to families where conflict may have precipitated prior admissions, or to
Crisis Stabilization   Personal Care Homes in distant Regions). We have found that individuals with IDD and
discharges who:        others with complex needs are often detained Hospitals for long stays because of a lack of
>90 days in SH,        adequately structured community living programs that can meet their needs.
are/were homeless,
lived in unlicensed    Statewide, the number of referrals to Supported Housing is limited because the capacity is
boarding home          limited. DMH has recently made significant attempts to improve access to Supported
prior to admission,    Housing by working to secure better access to 400 additional vouchers funded by tax
or have another        credits.
CSU/SH
admission              In FY ‘22 a total of 239 individuals received Supported Housing Services; this is about
B) addl capacity       .1% of all individuals receiving Core Services. As this Report is written, we do not have
(STAYED)               final FY ’23 data.


                       PARTIAL COMPLIANCE
12--Medication         DMH has allocated the funds in FY ’22 and FY ’23. CMHC utilization of the funds
Access: $200k          continues to be uneven.
provided to            .
CMHCs                  The Monitoring Team noted various issues and successes with respect to Medication
                       Access. We did not examine use of clozapine—the most effective antipsychotic—during
                       this monitoring period as data from DOM was not available. Previously, we found that
                       some CMHC’s do not make clozapine available.

                       Our previous Hospital record reviews did note significant use of long acting, injectable
                       (LAI) antipsychotics, widely believed to increase stability and reduce readmissions. care.

                       FY ’23 Medication Access resources were not utilized fully by many Regions.

                       PARTIAL COMPLIANCE
13—Diversion           Data we reviewed this period, and interviews and record reviews conducted previously
from State             indicated variable processes across CMHC’s to assess the need for PACT, ICORT, or
Hospitals              ICSS and to connect people to these services. The Order calls for consideration of these
--during Pre-          intensive services to avoid unnecessary institutionalization (e.g., during Pre-evaluation
evaluation             Screening—although considering mobile and more intensive services earlier when people
screening, consider    are not engaged in care may be necessary).
if ICSS's are
appropriate, offer     The variability in whether ongoing care coordination and Pre-evaluation screening
if needed              address these issues suggests a need for a protocol defining CMHC responsibilities to
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--during process,      coordinate care, and monitoring processes like that which DMH has introduced for
consider all civilly   Discharge Planning.
committed for
Crisis Residential     DMH is addressing these issues through funding of Court Liaison positions; Legislative
unless                 action in House Bill 1222 has also tightened Chancery Court reporting of commitment
commitment has         processes.
been ordered by
court
                       PARTIAL COMPLIANCE
14--Connecting         As we indicated in our March 2023 Report, DMH worked with CMHCs to complete this
the 154                project. We summarized the results as follows:
(Individuals whose
care was reviewed             • Of the 154 individuals, a dozen were deceased. This is a substantial number,
by DOJ experts         reflecting the national pattern of premature mortality for individuals with SMI.
prior to trial) to            • Of the 142 remaining, the largest number (49) were engaged in care. Most were
care:                  receiving traditional outpatient services such as medications and counseling. Fewer
--US info to MS        (about 10) were receiving the Intensive Core Services discussed in the Order.
--MS provide info             • About 15 were in Hospitals when they were located, suggesting whatever
to CMHC's with         community care they received was inadequate to prevent readmission.
funding to:                   • About 36 of the 142 surviving individuals were not able to be located at all, and
A) Outreach for        for about 29 additional individuals their status is simply unclear (for example, the Region
engagement             noted the individual missed appointments and was discharged without an expectation of
B) Screen for Core     follow-up, or that the individual was in another Region).
services,
document, offer as     The project was completed. However, it revealed substantial problems with care
appropriate            coordination, and engagement of people with SMI in care.

                       COMPLIANCE
15--Discharge          The State Hospital and CMHC records reviewed at State Hospitals and CMHCs during
Planning to begin      FY ’22 showed progress and revealed continued challenges. DMH developed a new
within 24 hours of     Discharge Planning protocol and convened State Hospital and CMHC staff to work on the
admission and          issue.
will:
A) Identify the        During FY ’23, DMH’s Office of Utilization Review (OUR) developed an audit protocol
person’s strengths,    to assess Hospital performance and began conducting quarterly reviews of discharge
preferences, needs     planning at each Hospital. During this monitoring period, the Court Monitoring Team
and desired            participated in 3 of these reviews.
outcomes
B) Identify
specific               Compliance Findings are provided below by subparagraphs of the Order: Typically, the
community-based        Monitor applies scoring thresholds requiring at least 85% of observations in compliance,
services needed on     with no State Hospitals below 75%, to achieve an overall rating of compliance. During
discharge              this period, we focused our review on supporting and assessing the DMH OUR audits.
C) Identify and        and did not review enough charts to reach definitive compliance conclusions. However,
connect the person     we offer these observations to illustrate progress and needs:
to the providers
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D) Refer the           Discharge Planning to begin within 24 hours of admission:
person to PACT or
ICORT when             COMPLIANCE
criteria met
E) Include             Identify the person’s strengths, preferences, needs and desired outcomes
assistance if
needed in securing     Performance on this requirement has been improved with most charts indicating that
or activating          discharge planning is commenced in a timely way. Patient strengths, preferences and
benefits               needs are often assessed generically rather than with reference to mental health treatment,
F) Coordinate          recovery, and support. The intent of determining strengths, preferences and needs is not
before discharge       to list vague personal preferences but to use the “voice of the patient” to improve
so meds are            treatment planning. For example, in one chart we saw documentation that an individual
continued as           was very focused on obtaining a job to afford a car. This motivation could be a
needed                 foundation of a treatment plan emphasizing adherence to provide the stability needed for
G) Identify            ownership of a vehicle and Supported Employment to help with a job to afford the car,
resources for crises   but sadly there was no evidence in the treatment plan of either.
and educate on
accessing them          PARTIAL COMPLIANCE
H) Include an
anticipated            Identify specific community-based services needed on discharge
discharge date
                       There has been significant improvement on this issue with most charts showing some
                       identification of needed community services. However, translating this into referrals and
                       adjustments in the services arranged after discharge remain loose; some charts indicate
                       via a checked box that a referral to PACT was made, but the aftercare appointments are
                       with clinic personnel. The referrals/connections to community care are not close/personal
                       or “warm” enough, perhaps because personal contacts by CMHC staff were not made
                       while the individual was hospitalized. Sometimes multiple appointments are scheduled
                       for individuals on discharge, e.g., appointments with a therapist, a nurse and a prescriber
                       on different days. This will impede engagement in care.

                        PARTIAL COMPLIANCE

                       Identify and connect the person to the providers

                       State Hospital staff consistently arrange for post discharge services including scheduling
                       initial appointments. However, the scheduled appointments are often with clinic
                       personnel, even when checklists indicate there has been a referral to Intensive Services.
                       Best practices would be to complete the intake for CMHC services at the Hospital and
                       then schedule a first visit with these programs so care can begin immediately rather than
                       starting with an intake that emphasizes paperwork. We found continued good
                       performance on making sure initial appointments were scheduled and people were
                       informed about them in discharge materials, although scheduling and assistance in getting
                       people to important initial visits could be improved.

                        COMPLIANCE
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            Refer the person to PACT or ICORT when criteria met

            Performance on this issue is improved; we found evidence of referrals for care in a
            majority of charts although as noted above often the scheduled visits post discharge were
            with staff in other programs. Sometimes referrals to Intensive Services were noted but all
            the appointments on discharge were with clinic personnel. CMHCs sometimes indicate an
            intake at the CMHC office is needed prior to e.g., a PACT visit. However, if intakes are
            completed while people are hospitalized, care on discharge could be more convenient.

            Joint State Hospital/CMHC discharge planning is more likely to be effective, especially
            when people have been readmitted.

             PARTIAL COMPLIANCE

            Include assistance if needed in securing or activating benefits

            Assistance in securing benefits is required by the Order and is of undeniable importance.
            However, given the short hospital stays that most people experience, there is usually not
            enough time to complete these processes (e.g., applications for Social Security Disability
            can take months or even years).

            A strengthened, consistent process of assisting with benefits in CMHC’s should be
            considered.

             PARTIAL COMPLIANCE


            Coordinate before discharge so meds are continued as needed.

            Our record reviews confirmed that continuity of medication treatment was consistently
            addressed at discharge planning by State Hospitals, by providing a supply of medications
            and a prescription. Better coordination between State Hospital medical staff and CMHC’s
            providers when medications are changed is necessary. However, this requirement is being
            met.

             COMPLIANCE

            Identify resources for crises and educate on accessing them.

            Documentation of this requirement is now a standard part of discharge planning, and our
            reviews found consistent evidence it was in place (e.g., people sign the relevant discharge
            planning form). We assess this requirement to be met although qualitative aspects of
            crisis planning can be improved.

             COMPLIANCE
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                     Include an anticipated discharge date

                     We found evidence of continued improvement on this issue. The number of charts where
                     an anticipated discharge date is recorded approaches our compliance threshold, but we
                     believe improvements in treatment planning to use time in State Hospital well are needed.

                      COMPLIANCE

16--Discharge        DMH OUR audits are examining this issue closely, a first step toward improvement. We
planning for         see some changes in Hospital treatment such as increased use of injectable medications,
people readmitted    but often this appears to be driven by policy rather than by an assessment of individual
addresses prior      needs and an assessment of what happened to warrant readmission.
plan, readmission
cause, adjustment    As we have noted previously, readmission rates in Mississippi are low, but most
                     individuals who are admitted have prior inpatient care. Record reviews suggest that many
                     readmissions could be prevented by better care.

                     Many readmissions are after months or even years of community living, suggesting that
                     the issue leading to readmission was not failed Hospital treatment but the need to improve
                     community care, especially engagement in treatment. To make fundamental
                     improvements in reducing readmissions therefore it is primarily community treatment and
                     support that needs improvement, with a focus on assertive engagement that can begin in
                     the Hospital.

                     PARTIAL COMPLIANCE
17--Prior to         As discussed throughout this Report, performance on this requirement is still uneven.
discharge, CMHC      When Peer Bridgers at the State Hospital AND at the CMHC take on this responsibility it
staff meet with      is often effectively done. Challenges in hiring Peer Bridgers and unevenness in how peer
individual and       staff are integrated into CMHC’s and State Hospitals affect compliance.
assertively engage
the individual in
appropriate
services             PARTIAL COMPLIANCE

18--DMH annual       DMH has conducted briefings/trainings with Chancery Court staff and reported on these
overview of          efforts to the Monitor. Changes in the collecting and reporting of data from Chancery
services,            Courts, introduced by House Bill 1222, should lead to more consistency in commitment
alternatives to      processes.
commitment to
Chancery Courts

                     COMPLIANCE
19--TA to            DMH has made continued progress on this issue. We previously noted strengths with
providers:           respect to training for Peer Specialists and for some clinicians and indicated a need for
--competency         improvements especially in training relative to working with individuals with SMI and in
based training,      Core Services programs. Sadly, pre-service professional training programs often do not
                     address these competencies. During this period, DMH developed some training programs
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consultation,         and identified others available through SMI Advisor, and required CMHCs to have staff
coaching              complete these trainings. This is good progress. We do not yet have evidence of its
--by people with      coverage and effectiveness. Complementing the training efforts with technical assistance
experience            would increase their effectiveness.
implementing Core
Services
                      PARTIAL COMPLIANCE
20--Data              This requirement became effective at the end of FY ‘22. Recognizing problems in the
Collection and        consistency and accuracy of data, DMH has worked hard with all CMHC’s during FY ‘22
Review. On a          and FY ’23 to improve data accuracy. Medicaid data on Core Services utilization was
monthly basis, the    submitted monthly by the Division of Medicaid to the Monitor during 2022, but there
State will collect,   were delays in DOM reporting during FY ’23. DOM data has begun to be reported again
review, and           as this Report is written.
analyze person
level and             UPDATE BELOW
aggregate data
capturing:
                      Specific requirements:
And Paragraph 24:     a. Admissions to Residential Crisis Services locations, by location broken down by
                      CMHC region and by county, and admissions to State Hospitals from Residential
Beginning at the      Crisis Services and where Residential Crisis Services were not provided;
end of FY22, and
until the case is             This information is being provided to the Monitor and is being posted/
terminated,
Mississippi will       b. Calls to Mobile Crisis Teams, with the number of calls leading to a mobile team
post on               visit, the average time from call to visit, the number of calls where the time to
agency websites       visit exceeded limits in the DMH Operational Standard 19.3, E, 1, and disposition
and provide on an     of the call and/or Mobile Team visit.
annual basis to the
DOJ and Monitor               This information required implementation of a new reporting system during FY
the data                      ’23. The system has been implemented and we will work with DMH to evaluate
described in                  the data during FY ’24.
Paragraphs 19-21,
not to include        c. Civil commitments to State Hospitals by CMHC region and by county.
individual
identifiable data.            This information is being provided to the Monitor and posted on the DMH
                              Olmstead page.

                       d. Jail placements pending State Hospital admission by CMHC region and county,
                      including length of placement (Mississippi will collect this data, as to each
                      person, when a State Hospital receives the commitment order for the person).

                              Information has been provided and posted.
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                       Individuals who remain hospitalized in State Hospitals for over 180 days:
                               The number of individuals with long stays in each Fiscal Year has been provided
                               and posted.

                       Persons receiving each Core Service by CMHC region and by county.
                               This information has been provided and posted.

                        g. Number of units of each Core Service reimbursed through Medicaid by CMHC
                       region and county.

                               This data (g) was regularly provided to the Monitor until DOM changed data
                               vendors in FY ’23. DOM has resumed providing this information but not
                               indicated how the data will be reviewed, analyzed, and posted.

                       DMH IS NEAR COMPLIANCE, DOM NEEDS TO POST AND CONSISTENTLY
                       PROVIDE DATA


21--Monthly            DMH has improved CMHC data collection and reporting and the State has made
collection, review,    substantial progress. Linking reimbursement to submission of data on service provision
analysis of person     (labelled as “Fee for Service”) was challenging for some CMHC’s but led to improved
level and              data submission in FY.
aggregate
billing/utilization    Person level service utilization is now being reported. DMH provided an initial report on
on DMH grants          services delivered in the first Quarter of FY ‘23 to the Monitor. We relied on that data to
24--Beginning at       evaluate enrollment in and intensity of Intensive Services for this Report. The data was
the end of FY22,       sufficient to conduct such analyses and revealed challenges that can be addressed to move
and until the case     these services toward compliance.
is terminated,
Mississippi will       The Court Monitoring Team will work with DMH in FY ’24 to improve the review and
post on                analysis, and use of data.
agency websites
and provide on an
annual basis to the
DOJ and Monitor
the data
described in
Paragraphs 19-21       DMH APPROACHING COMPLIANCE, DOM MUST POST DATA

22--Annual             DMH periodically reviews all services for compliance with its Operational Standards and
analysis of            has made substantial efforts to implement national standards for program fidelity (is the
compliance and         program working as intended) for Core Services where these standards exist. This is the
fidelity of all core   case for PACT and Supported Employment (Individual Placement with Support). DMH
services by CMHC       has developed its own fidelity standards for ICORT, ICSS, Mobile Crisis and Supported
                       Employment partnership programs with Vocational Rehabilitation. DMH has conducted
                       annual on-site reviews of these programs for several years and made a number of
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                       improvements for FY ’23 and FY ‘24. The Court Monitor Team reviewed the DMH
                       fidelity efforts by participating in about a dozen of the monitoring visits, covering all the
                       services that have a fidelity model. We found the reviews to be conducted professionally
                       and effectively.

                       DMH has provided a summary of compliance and fidelity status of Core Services for all
                       Regions to the Monitor

                       COMPLIANCE
23--Clinical           REQUIREMENT IS STAYED/NOT NOW IN EFFECT
Review--STAYED

24--MS to "post        Covered in discussion of Paragraphs 19-22 above
on agency
websites and
provide on an
annual basis to
DOJ and Monitor
the data in para 19-
21"
25--                   Not applicable
Implementation
Plan STAYED
26--Imp. Plan          Not applicable
timetables
STAYED
27--Termination--      Not applicable
Requires
substantial
compliance for
each para,
sustained for a
year
28--Termination of
oversight may be
sought/achieved
for individual
section/paras
29--Monitor to be      Not applicable
appointed
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Conclusion and next steps.
The fourth Monitoring Report in this case comes 11+ years after DOJ issued a Findings Letter
raising concerns about deficits in Mississippi’s mental health system leading to unnecessary
institutionalization, and 3 years after Judge Reeves’ Remedial Order. An appeal to the Fifth
Circuit is still pending. Meanwhile efforts to achieve compliance continue and substantial
progress in a number of areas has been made.
There have also been related developments nationally and in Mississippi that affect the system
and people in it. An archaic practice of holding people in jails while they await a Hospital bed
was made worse due to reductions in capacity during the pandemic. Wait times have been
reduced during the past year but the problems persist. Other challenges at the intersection of law
enforcement and mental health have continued despite innovations like Crisis Intervention
Teams; the Mississippi Legislature evaluated these issues and began to respond via House Bill
1222, which launched changes including training, expansion of Crisis Intervention Teams, some
funding for liaison personnel to work at this intersection, and data reporting requirements for
Chancery Courts. Several CMHC Regions were consolidated, preventing cessation of services in
struggling Regions but introducing big management challenges for the CMHC’s that took over
these operations. National developments included the launch of the first national crisis and
suicide hot line (988) and expansion of the Certified Community Behavioral Health Clinic
(CCBHC) program, for which Mississippi obtained a federal grant to explore statewide
implementation.
Our review during this period of compliance with the requirements of the Order finds
improvement, with many foundational elements in place (e.g., services funded, quality reviews
being done and data reporting initiated). On the other hand, progress is still required on a number
of issues that have a great impact on people receiving care such as being held in jail while
awaiting treatment, being connected with the right care at the right time or having access to
employment or housing supports. To generalize, the structural aspects of change have been
addressed, but the system is not yet working for all people the way it should. Mississippi has
made substantial progress in improving care. However, challenges remain and require sustained
attention.
Next steps in monitoring. All requirements of the Order are now in effect and data systems are in
place, allowing a full assessment of progress. While it is useful to know services were funded by
DMH, until statewide data on their use and well-done quality reviews were in place, the impact
on unnecessary institutionalization could not be assessed. Reviewing data to assess adequacy of
services and DMH efforts to improve care will be priorities during 2024.
